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                 Exhibit 72
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Q3 FY 2005 QUALCOMM Inc. Earnings Conference Call
Q3
SANFY 2005
    DIEGO JulQUALCOMM       Inc.StreetEvents)
              23, 2005(Thomson    Earnings --Conference      Call
                                              Edited Transcript of Qualcomm Inc earnings conference call or presentation
Wednesday, July 20, 2005 at 9:30:00pm GMT
SAN DIEGO Jul 23, 2005 (Thomson StreetEvents) -- Edited Transcript of Qualcomm Inc earnings conference call or presentation
Wednesday,
 CORPORATE    July 20, 2005 at 9:30:00pm GMT
                 PARTICIPANTS
   Bill Davidson, QUALCOMM Inc. - VP, IR
CORPORATE PARTICIPANTS
   Dr. Paul Jacobs, QUALCOMM Inc. - CEO
   Bill Davidson, QUALCOMM Inc. - VP, IR
   Steve Altman, QUALCOMM Inc. - President
   Dr. Paul Jacobs, QUALCOMM Inc. - CEO
            Jah, QUALCOMM
   SanjayAltman,
   Steve            QUALCOMM        Inc.
                                      Inc.- EVP   and President, CDMA Technologies Group
                                            - President
   Bill Keitel,
   Sanjay   Jah,QUALCOMM
                 QUALCOMMInc.      Inc.- -EVP,
                                           EVPCFOand President, CDMA Technologies Group
 CONFERENCE        CALL PARTICIPANTS
   Bill Keitel, QUALCOMM        Inc. - EVP, CFO
   Tal Liani, Merrill
CONFERENCE        CALL Lynch   - Analyst
                         PARTICIPANTS
   Tal
   Ed Liani,  Merrill
        Snyder,       Lynch
                 Charter      - Analyst
                           Equity   - Analyst
   Ed
   BrantSnyder,  CharterGoldman
          Thompson,       Equity - Analyst
                                     Sachs - Analyst
   Brant
   Wojtek Thompson,
            Uzdelewicz, Goldman      Sachs -- Analyst
                           Bear Stearns
   Wojtek
   ChristinUzdelewicz,
             Armacost, SG  Bear   Stearns
                               Cowen          - Analyst
                                          - Analyst
   Christin  Armacost,
   Cody Acree,     Legg SG    Cowen
                          Mason    Wood  - Analyst
                                             Walker - Analyst
   Cody
   HasanAcree,
            Imam, Legg   Mason
                    Thomas        Wood
                               Weisel       Walker -- Analyst
                                          Partners    Analyst
   Hasan Imam, Thomas Weisel Partners - Analyst
   Tim Long, Banc of America Securities - Analyst
   Tim Long, Banc of America Securities - Analyst
    Mike Walkley, Piper Jaffray - Analyst
   Mike Walkley, Piper Jaffray - Analyst
   Tim Luke, Lehman Brothers - Analyst
   Tim Luke, Lehman Brothers - Analyst
   Apjit Walia, RBC Capital Markets - Analyst
   Apjit Walia, RBC Capital Markets - Analyst
   Ehud Gelblum,
   Ehud   Gelblum,J.P.J.P.Morgan
                           Morgan --Analyst
                                        Analyst
   John Bucher,
   John   Bucher,Harris
                    Harris Nesbitt
                            Nesbitt Gerard
                                      Gerard --Analyst
                                                  Analyst


PRESENTATION
PRESENTATION
Operator
Operator

Ladies
 Ladiesand
         and gentlemen,
              gentlemen,thank  thank you
                                      you for
                                           for standing
                                               standing by.
                                                         by.Welcome
                                                             Welcome to     the QUALCOMM
                                                                        to the  QUALCOMM third
                                                                                            third quarter
                                                                                                  quarterconference     call. At
                                                                                                          conference call.    Atthis
                                                                                                                                 this time,
                                                                                                                                       time,all
                                                                                                                                            all
participants
 participants are
              are inin aa listen-only
                           listen-only mode.
                                       mode.LaterLaterwe
                                                      we will
                                                          will conduct
                                                               conductaa question-and-answer
                                                                          question-and-answersession.    [OPERATOR INSTRUCTIONS]
                                                                                                session.[OPERATOR         INSTRUCTIONS]As       Asaa
reminder,
 reminder,this
            this conference
                 conference is   is being
                                    being recorded
                                            recorded July
                                                      July 20th,
                                                            20th,2005.
                                                                  2005.The
                                                                         The playback
                                                                               playback number
                                                                                        numberfor
                                                                                               fortoday's
                                                                                                   today's call
                                                                                                           call is
                                                                                                                 is 1-800-633-8284.
                                                                                                                    1-800-633-8284.International
                                                                                                                                        International
callers, please   dial  area   code  402-977-9140.     The   playback  reservation  number
 callers, please dial area code 402-977-9140. The playback reservation number is 21245566. is 21245566.

I would now like to turn the call over to Bill Davidson, Vice President of Investor Relations. Please go ahead, sir.
 I would now like to turn the call over to Bill Davidson, Vice President of Investor Relations. Please go ahead, sir.
Bill Davidson, QUALCOMM Inc. - VP, IR
 Bill Davidson, QUALCOMM Inc. - VP, IR
Thank you, and good afternoon. Today's call will include prepared remarks by Dr. Paul Jacobs, Steve Altman, Dr. Sanjay Jah and
 Thank
Bill       you,
      Keitel. Anand   good presentation
                   Internet afternoon. Today's     call will
                                            and audio        include accompanies
                                                        broadcast        prepared remarks       by Dr.
                                                                                         this call, andPaul
                                                                                                         youJacobs,   Steve
                                                                                                              can access       Altman,
                                                                                                                           it by        Dr. Sanjay Jah and
                                                                                                                                 visiting
 Bil l Keitel. An Internet presentation and audio broadcast accompanies this call, and you can access it by visiting
www.qualcomm.com.
 www.qualcomm.com.
During this conference call, if we use any non-GAAP financial measures, as defined by the SEC and Regulation G, you can find
the   required
 During          reconciliation
           this conference       toifGAAP
                              call,   we use onany
                                                 ournon-GAAP
                                                     website. I would
                                                                   financialalso  direct youas
                                                                                measures,      todefined
                                                                                                  our 10-Qbyand
                                                                                                             the earnings
                                                                                                                  SEC and release,     which
                                                                                                                              Regulation   G, were
                                                                                                                                              you canfiled and
                                                                                                                                                         find
furnished
 the requiredrespectively    with to
                  reconciliation  theGAAP
                                       SEC today,
                                              on ourand   are available
                                                      website.   I would also on our  website.
                                                                                   direct you to our 10-0 and earnings release, which were filed and
furnished respectively with the SEC today, and are available on our website.
We may make forward-looking statements relating to our expectations and other future events that may differ materially from
QUALCOMM's           actual results. Please
 We may make forward-looking                   reviewrelating
                                       statements      our SEC      filings
                                                                to our       for a detailed
                                                                          expectations    andpresentation
                                                                                                other future of each that
                                                                                                             events   of our
                                                                                                                          may businesses    and associated
                                                                                                                                 differ materially from
risks,   and  any   other important   factors  that  may  cause    our    actual  results  to differ from these  forward-looking
 QUALCOMM's actual results. Please review our SEC filings for a detailed presentation of each of our businesses and associated      statements.
 risks,
Pro      and revenues
       forma  any other were
                           important
                                 $1.36factors
                                        billion that may
                                                in the    cause
                                                       third  fiscalour   actualup
                                                                       quarter,    results  to differ from these
                                                                                     2% year-over-year            forward-looking
                                                                                                            and down                 statements.
                                                                                                                       1% sequentially.     Third fiscal
quarter pro forma net income was $465 million, down 4% year-over-year and 5% sequentially. Diluted earnings per share were
Pro forma
$0.28, down revenues    were $1.36and
              3% year-over-year       billion in the thirdThird
                                           sequentially.  fiscalfiscal
                                                                 quarter,       proyear-over-year
                                                                            up 2%
                                                                        quarter                   and
                                                                                    forma free cash    down
                                                                                                    flow,    1% sequentially.
                                                                                                          defined as net cash Third fiscal
                                                                                                                              flow from
q uarter pro
operating    forma net
           activities    income
                      less capitalwas    $465 million,
                                    expenditures,    wasdown
                                                          $3684%    year-over-year
                                                                 million,            and 5% sequentially.
                                                                          down 6% year-over-year   and wasDiluted
                                                                                                             27% earnings  per share were
                                                                                                                  of revenue.
$0.28, down 3% year-over-year and sequentially. Third fiscal quarter pro forma free cash flow, defined as net cash flow from
operating
And  now itactivities  less capital
            is my pleasure          expenditures,
                              to introduce            was $368
                                              QUALCOMM's          million,
                                                               CEO,    Dr. down  6% year-over-year and was 27% of revenue.
                                                                           Paul Jacobs.

Dr.
AndPaul
    nowJacobs,   QUALCOMM
        it is my pleasure       Inc. - CEO
                          to introduce  QUALCOMM's CEO, Dr. Paul Jacobs.
Thanks,
 Dr. PaulBill.  And good
            Jacobs,         afternoon,Inc.
                      QUALCOMM           everyone.
                                             - CEO It's certainly an honor to be speaking to you today as QUALCOMM's CEO. I want to
start by thanking Irwin and Tony for their contributions to the Company, and I really want to wish Tony all the best in his retirement.
 Thanks, Bill. And good afternoon, everyone. It's certainly an honor to be speaking to you today as QUALCOMM's CEO. I want to
The
 starttransition  hasIrwin
        by thanking   goneandvery  smoothly,
                                 Tony   for theirand  I know thatto
                                                   contributions    the entire
                                                                      the      management
                                                                          Company,             teamwant
                                                                                       and I really   shares    my excitement
                                                                                                           to wish   Tony all thefor  theinmany
                                                                                                                                   best     his retirement.
opportunities we have in front of this great Company. All of us have been working together for a long time, and together we are
focused    on executing
 The transition   has goneourvery
                               roadsmoothly,
                                      maps to andbringI innovative
                                                        know that thenewentire
                                                                          technologies,
                                                                                managementproducts,
                                                                                                team and
                                                                                                      sharesservices   to marketfor
                                                                                                                 my excitement    in cooperation
                                                                                                                                       the many with our
partners.
 opportunities we have in front of this great Company. All of us have been working together for a long time, and together we are
focused
Let         on executing
     me start              our road
               also by saying    that maps
                                       we are  tovery
                                                  bringpleased
                                                         innovative
                                                                 to benew  technologies,
                                                                        able              products,ofand
                                                                             to raise the midpoint       ourservices    to market
                                                                                                              fiscal year          in cooperation
                                                                                                                           pro forma                with our
                                                                                                                                        earnings guidance
 partners.
by  $0.02. The primary reason for the increase is attributable to greater shipments of higher priced WCDMA handsets. The average
selling price for the total CDMA handset market rose to approximately $231 for sales in the March quarter. That was primarily due
 Let
to    me start
   regional     also by saying that we are very pleased to be able to raise the midpoint of our fiscal year pro forma earnings guidance
              mix.
 by $0.02. The primary reason for the increase is attributable to greater shipments of higher priced WCDMA handsets. The average
Since
 sellingI have  taken
          price for theon  theCDMA
                        total   CEO role,    I have
                                       handset       beenrose
                                                   market   visiting  wireless operators
                                                                  to approximately   $231 around
                                                                                           for salestheinworld,   and Iquarter.
                                                                                                          the March      am extremely
                                                                                                                                 That wasoptimistic  about
                                                                                                                                             primarily due
the  future ofmix.
 to regional    3G in all geographies. The markets where technology competition exist, like Japan and the United States -- in markets
where technology competition exist, like Japan and the United States, we are experiencing dramatic growth in 3G. In China, of
course,
 Since I we
          havecontinue
                 taken onto the
                            waitCEO
                                  for the issuance
                                       role,           of thevisiting
                                              I have been     third-generation   licenses, around
                                                                      wireless operators    and it isthe
                                                                                                      very         andtoI am
                                                                                                             difficult
                                                                                                          world,          predict when this
                                                                                                                             extremely        event will
                                                                                                                                          optimistic about
 the future of 3G in all geographies. The markets where technology competition exist, like Japan and the United States -- in markets                             LP_0005907
 where technology competition exist, like Japan and the UnitedExhibit              72 we are experiencing dramatic growth in 3G. In China, of
                                                                             States,
 course, we continue to wait for the issuance of the third-generation        1156 licenses, and it is very difficult to predict when this event will

                                                                                                                                                                 LP_0005907
occur, but it will occur.              Case 3:17-cv-00121-JO-MSB Document 255-68 Filed 08/22/22 PageID.11359 Page 3 of 10


occur,         will occur.
        but ithandset
I n Europe,             pricing has fallen, enabling operators to address a larger portion of their subscriber base with WCDMA, and we
remain extremely encouraged by the traction that our M5M6250 is getting with OEMs and operators. There are now 16
In  Europe, handset
commercially            pricing
                 available      has fallen,
                            devices  based enabling    operatorschipset
                                              on the MSM6250        to address  a larger portion of their subscriber base with WCDMA, and we
                                                                           solution.
remain extremely encouraged by the traction that our MSM6250 is getting with OEMs and operators. There are now 16
commercially
As we build onavailable
                   consumer devices
                               demandbased    on the MSM6250
                                         for increasing            chipset
                                                          functionality,   solution.
                                                                         QUALCOMM        is designing and delivering new enhancement to
CDMA2000 and WCDMA. The enhanced multimedia and convergence platform chipsets that are already sampling to customers,
As we build on consumer demand for increasing functionality, QUALCOMM is designing and delivering new enhancement to
support the next step in the migration of CDMA2000 and WCDMA as we lead the industry with DO Rev A and HSDPA.
CDMA2000 and WCDMA. The enhanced multimedia and convergence platform chipsets that are already sampling to customers,
support the next step in the migration of CDMA2000 and WCDMA as we lead the industry with DO Rev A and HSDPA.
Many of the enhancements we originally developed for EV-DO continue to be transferred to WCDMA. These include support for
higherof
Many    data
          the rates  to and fromwe
                enhancements       the phone with
                                     originally      HSDPAfor
                                                 developed     and   HSUPA,
                                                                  EV-DO       enhanced
                                                                          continue   to bemultimedia
                                                                                           transferredwith    packet voice
                                                                                                          to WCDMA.    Theseand  video support
                                                                                                                               include    for videofor
telephony,
higher  dataand    multimedia
               rates to and frombroadcast
                                   the phone muticast serviceand
                                                with HSDPA      or MBMS,
                                                                    HSUPA,as    well as the
                                                                              enhanced       fundamental
                                                                                          multimedia     withcapacity and quality
                                                                                                              packet voice          gains
                                                                                                                            and video     forwith
                                                                                                                                              video
equalizers,
telephony, andreceived   diversity
                   multimedia      and interference
                                broadcast              cancellation.
                                             muticast service   or MBMS, as well as the fundamental capacity and quality gains with
equalizers, received diversity and interference cancellation.
Clearly we're spending significantly on research and development, but these innovations enable us to maintain and extend our
Clearly  we're spending
market leadership.     And significantly  on research
                             we are not just   working onandthedevelopment,    but these that
                                                                 high end, recognizing    innovations    enable
                                                                                                a significant    us to maintain
                                                                                                              number             and
                                                                                                                       of the next     extend our
                                                                                                                                    billion
market leadership.
subscribers            And
               will come     we are
                          from       not just
                                markets    withworking
                                                low peron   the high
                                                          capital GDP.end,
                                                                         Werecognizing
                                                                            continue tothat     a significant
                                                                                           research,   developnumber   of the next
                                                                                                                 and implement      billion
                                                                                                                                  new    techniques
subscribersdirected
specifically   will comeatfrom  markets
                           driving  down with
                                           costslow
                                                  forper  capital GDP.
                                                     entry-level        We continue to research, develop and implement new techniques
                                                                   phones.
specifically directed at driving down costs for entry-level phones.
Among the key initiatives for driving down costs for both CDMA2000 and WCDMA handsets are low-power process technologies
for MSMthe
Among         key initiatives
           chipsets,  RF CMOS for driving
                                   for RFdown     costs
                                            chipsets, andforour
                                                             both
                                                                SC CDMA2000      and WCDMA
                                                                     chipset lineup,             handsets
                                                                                       which integrates      are and
                                                                                                           radio low-power
                                                                                                                     power process
                                                                                                                             management technologies
                                                                                                                                               with the
for  MSM
base band. chipsets,  RF   CMOS    for RF   chipsets, and   our SC   chipset lineup,  which   integrates   radio and power   management        with the
base band.
Turning
Turning to
        to the application side,
           the application        our fifth
                           side, our        annual BREW
                                      fifth annual BREW developers
                                                           developers conference    served as
                                                                       conference served    as an
                                                                                               an opportunity
                                                                                                   opportunity toto highlight
                                                                                                                    highlight the global
                                                                                                                              the global
success  and wide
success and   wide spread  adoption of
                   spread adoption    of wireless
                                          wireless data.
                                                   data. We
                                                         We are
                                                             are continuing
                                                                 continuing to evolve the
                                                                            to evolve      BREW system
                                                                                       the BREW    system through
                                                                                                             through joint  work with
                                                                                                                      joint work  with BREW
                                                                                                                                       BREW
operators, developers
operators,             and device
           developers and   device manufacturers.
                                     manufacturers. And
                                                      And we
                                                           we are
                                                               are demonstrating   the system's
                                                                   demonstrating the   system's flexibility
                                                                                                flexibility to operators who
                                                                                                            to operators   who are
                                                                                                                                are
considering  BREW for
considering BREW    for their
                        their software   platforms. The
                              software platforms.        BREW environment
                                                    The BREW    environment isis extensible
                                                                                 extensible and
                                                                                            and let's
                                                                                                 let's developers
                                                                                                       developers andand operators
                                                                                                                          operators add
                                                                                                                                     add their
                                                                                                                                         their
own functionality while maintaining the security of the system.
                                                          system.

Based on our acquisition of Trigenics,
                              Trigenics, we've enhanced the system with BREW uiOne.  uiOne. This enables operators to easily develop and
deploy user interfaces that simplify their subscribers'
                                              subscribers' access to the services which differentiate them from their competitors.
                                                                                                                      competitors. We are
excited about
excited        our agreement
         about our agreement with    the first
                                with the  first U.S.-based
                                                U.S.-based operator
                                                            operator ALLTEL,
                                                                     ALLTEL, and   there are
                                                                               and there     two other
                                                                                         are two other major
                                                                                                        major operators that have
                                                                                                              operators that have not
                                                                                                                                   not
publicly
publicly announced   their selection
         announced their   selection of
                                      of uiOne.
                                         uiOne.
 We
 We are are pleased
             pleased with         the progress
                           with the     progress we we are
                                                         are making
                                                              making on on MediaFLO
                                                                              MediaFLO USA, USA, and
                                                                                                   and are
                                                                                                        are on   schedule to
                                                                                                             on schedule      to support
                                                                                                                                 support our    fourth-quarter 2006
                                                                                                                                           our fourth-quarter     2006
 launch.
 launch. Recently
              Recently the  the FCC
                                  FCC has has approved
                                               approved request
                                                            request to to shut
                                                                           shut down
                                                                                  down analog
                                                                                         analog TV     stations on
                                                                                                  TV stations     on channel
                                                                                                                     channel 55  55 in
                                                                                                                                    in Orlando
                                                                                                                                        Orlando and
                                                                                                                                                  and Seattle,
                                                                                                                                                        Seattle, and
                                                                                                                                                                  and our
                                                                                                                                                                        our
 request for New York City is currently in process. This adds two more to the long list of cities where spectrum will be available as
 request for New York City is currently in process. This adds two more to the long list of cities where spectrum will be available as
 we launch MediaFLO .
 we launch MediaFLO .
 We have also announced the intent to standardize the FLO technology with the formation of the FLO forum. This is an organization
 We have also
 comprised              announced
                   of industry           the intent
                                   operators,         to standardize
                                                  broadcasters,           the FLO
                                                                     content          technology
                                                                                 providers,   and vendors      formation
                                                                                                    with thethat            of the FLO
                                                                                                                   are committed          forum.
                                                                                                                                       to a        This is an organization
                                                                                                                                             standardization    of
 comprised
 QUALCOMM's        of industry     operators,And
                         FLO technology.          broadcasters,
                                                       our MediaFLO  content     providers,
                                                                            chipset   program andremains
                                                                                                   vendorson  that are committed
                                                                                                                 schedule.             to a standardization
                                                                                                                              The MBD1000        chipset, which of will
 QUALCOMM's
 initially   be availableFLO withtechnology.     And our
                                       the MSM6550           MediaFLO
                                                           will             chipsetinprogram
                                                                begin sampling          the fourthremains
                                                                                                     quarteronofschedule.
                                                                                                                  calendar 2005The MBD1000       chipset,eventually
                                                                                                                                     and will integrate     which will with
 i nitially be available
 CDMA2000           and WCDMA   with the     M5M6550 will begin sampling in the fourth quarter of calendar 2005 and will integrate eventually with
                                         chipsets.
 CDMA2000 and WCDMA chipsets.
 MediaFLO is an example of how QUALCOMM has evolved to be a complete wireless technology company. We are committed to
 using
 MediaFLO  the technology
                   is an example  that ofbest
                                            howmeets    the requirement
                                                  QUALCOMM                     of the to
                                                                     has evolved       applications
                                                                                         be a completeconsumers
                                                                                                           wirelessare   demanding,
                                                                                                                      technology          and weWe
                                                                                                                                     company.       think
                                                                                                                                                        arethis concept to
                                                                                                                                                             committed    will
 become
 using theincreasingly
                 technology commonplace.
                                  that best meetsHeterogenous
                                                        the requirement    networks     operating inconsumers
                                                                               of the applications     conjunctionare with   each other,and
                                                                                                                         demanding,         affording  a wide
                                                                                                                                                we think        variety ofwill
                                                                                                                                                           this concept
 service,
 become all        accessed commonplace.
               increasingly        by subscribers on       their wireless
                                                       Heterogenous            devices.operating
                                                                           networks      Next evolution     in wireless
                                                                                                    in conjunction    withwill  be less
                                                                                                                             each  other, about  competing
                                                                                                                                            affording   a widetechnologies
                                                                                                                                                                variety of
 and    more      about    how    complementary         technologies      will  work  together   in a seamless     fashion.
 service, all accessed by subscribers on their wireless devices. Next evolution in wireless will be less about competing technologies
 and more about how complementary technologies will work together in a seamless fashion.
 QUALCOMM continues to invest in research and development to introduce new innovations to our industry in a variety of areas.
 We integrate new technologies into our product portfolio to enable our partners to introduce new services, or improve the
 QUALCOMM continues to invest in research and development to introduce new innovations to our industry in a variety of areas.
 performance of their existing services, to improve their economics and reduce the time to revenue generation.
 We integrate new technologies into our product portfolio to enable our partners to introduce new services, or improve the
 performance
 3G    road map of        their existing
                       includes     3G radio services,
                                                 accesstonetwork
                                                             improveenhancements
                                                                         their economics      and reduce
                                                                                           to support        the time
                                                                                                        a variety       to revenueand
                                                                                                                    of broadband       generation.
                                                                                                                                            sensitive application, such
 as mediacasting, Voice over IP, video telephony and push to talk, with increased data throughputs, lower latencies, increased
 3G    road map
 capacities       andincludes
                         greater 3G       radio access
                                     affordability.  And network
                                                           many ofenhancements
                                                                       these continuing   to innovations
                                                                                              support a variety
                                                                                                             touch of  broadband
                                                                                                                    upon    the value and   sensitive
                                                                                                                                         chain         application,
                                                                                                                                                of multiple           such
                                                                                                                                                              industries,
 as mediacasting,
 whether       it is mobile  Voice    over IP, video telephony
                                telecommunications,                   and push
                                                             information            to talk,consumer
                                                                              technology,    with increased      data throughputs,
                                                                                                         electronics                    lower latencies, increased
                                                                                                                        or entertainment.
 capacities and greater affordability. And many of these continuing innovations touch upon the value chain of multiple industries,
 QUALCOMM
 whether it is mobile  is alsotelecommunications,
                                 very active within several         standard
                                                             information          bodies, such
                                                                              technology,         as 3G electronics
                                                                                             consumer     PP, 3G PP2,   or [inaudible],
                                                                                                                            entertainment. OMA and others to ensure
 that these innovations are universally implemented to support economies of scale and interoperability with existing and future
 mobile
 QUALCOMM   communication
                       is also very  services
                                         active to  preserve
                                                 within   severalongoing
                                                                    standard investments.
                                                                                  bodies, suchWorking
                                                                                                  as 3Gtogether
                                                                                                          PP, 3G with
                                                                                                                    PP2,our     partners,OMA
                                                                                                                          [inaudible],      we have
                                                                                                                                                 and a   futuretoroad
                                                                                                                                                       others          map
                                                                                                                                                                  ensure
 that these
 that   is robust,      evolutionary,
                  innovations              and capable
                                    are universally         of delivering
                                                         implemented       tomost    anyeconomies
                                                                               support    mobile application
                                                                                                       of scale orandservice    desired bywith
                                                                                                                       interoperability      a consumer
                                                                                                                                                 existing andor enterprise
                                                                                                                                                                 future      in
 the
 mobilemarketplace.
            communication services to preserve ongoing investments. Working together with our partners, we have a future road map
 that is robust, evolutionary, and capable of delivering most any mobile application or service desired by a consumer or enterprise in
 To close, I am very pleased to report that we have repurchased approximately $1 billion of the Company's stock since March of
 the marketplace.
 2005. We have now completed one-half of our $2 billion stock repurchase program. We continue to believe in returning capital to
 our investors through dividends and select stock repurchases.
 To close, I am very pleased to report that we have repurchased approximately $1 billion of the Company's stock since March of
 2005.
 I wouldWe   now  have
                     likenow     completed
                           to turn              one-half
                                      the call over         of ourAltman.
                                                      to Steve      $2 billion stock repurchase program. We continue to believe in returning capital to
 our investors through dividends and select stock repurchases.
 Steve Altman, QUALCOMM Inc. - President
 I would now like to turn the call over to Steve Altman.
 Thank you, Paul. And good afternoon, everyone. I will take a few moments to highlight a number of important achievements in our
 QTL, QIS,
 Steve      Altman,and QWBS
                         QUALCOMM   businesses.      First in QTL, during the quarter, we signed four subscriber unit license agreements with
                                              Inc. - President
 Chinese manufacturers covering WCDMA. This increases the total number of WCDMA licenses with Chinese manufacturers to
 five.
 Thank   In you,
            additionPaul. toAnd
                              the previously      announced
                                    good afternoon,               interim
                                                          everyone.         license
                                                                        I will take aagreement.
                                                                                        few moments  Eachto of  these agreements
                                                                                                             highlight a number ofare        at QUALCOMM's
                                                                                                                                        important    achievements  standard
                                                                                                                                                                       in our
 royalty    rates     for  WCDMA        handsets.
 QTL, 01S, and QWBS businesses. First in QTL, during the quarter, we signed four subscriber unit license agreements with
 Chinese manufacturers covering WCDMA. This increases the total number of WCDMA licenses with Chinese manufacturers to
Ifive.
    am Inalso    pleased
            addition          to report
                          to the           that WCDMA
                                    previously    announced  royalties
                                                                  interimhave    grown
                                                                            license      to represent
                                                                                      agreement.     Eachapproximately      36% of our
                                                                                                            of these agreements         areroyalties  for the June
                                                                                                                                             at QUALCOMM's           quarter,
                                                                                                                                                                   standard
 compared with approximately 32% for the March quarter. This increased percentage is primarily as a result of increased sales of
 royalty rates for WCDMA handsets.
 WCDMA handsets in Japan.
I am also pleased to report that WCDMA royalties have grown to represent approximately 36% of our royalties for the June quarter,                                                 LP_0005908
compared with approximately 32% for the March quarter. ThisExhibit 72
                                                            increased percentage is primarily as a result of increased sales of
WCDMA handsets in Japan.                                    1157

                                                                                                                                                                                  LP_0005908
                             Case 3:17-cv-00121-JO-MSB
With more than 3,900 U.S. patents   issued and applied Document
                                                         for, our255-68 Filed
                                                                   patent     08/22/22continues
                                                                           portfolio    PageID.11360 Page 4 of Although
                                                                                                 to expand.    10       it is widely
recognized that our patents broadly apply to CDMA2000, WCDMA, TDS-CDMA and other COMA systems, our research efforts
extend beyond COMA. As a result, we are confident that we also have a strong patent position in other technologies, such as
With more than 3,900 U.S. patents issued and applied for, our patent portfolio continues to expand. Although it is widely
GPRS, EDGE,
recognized thatOFDM,   OFDMA,
                our patents     andapply
                            broadly   802.11to to name a few.
                                               CDMA2000,    WCDMA, TDS-CDMA and other CDMA systems, our research efforts
extend beyond CDMA. As a result, we are confident that we also have a strong patent position in other technologies, such as
We, of course,
GPRS,    EDGE, look OFDM,  to continually
                               OFDMA, and   strengthen
                                                802.11 to our   portfolio
                                                             name    a few.in areas outside of COMA through internal R&D or acquisitions. For
example, last year we acquired Vesuvius, Inc. to obtain its patents related to the delivery of multimedia content to wireless devices.
And of
We,   wecourse,
          acquired  looklridigm  to gain access
                           to continually          to its our
                                            strengthen    pioneering
                                                               portfoliodisplay
                                                                           in areastechnology.
                                                                                      outside ofAnother     example,
                                                                                                   CDMA through         in 2000,
                                                                                                                     internal  R&Dweoracquired   SnapFor
                                                                                                                                         acquisitions.  Track
example,
which holds lasta year    we acquired
                   valuable    portfolio Vesuvius,
                                         of patentsInc.     to obtain
                                                      related           its patents related
                                                                 to location-based             to the
                                                                                        services   thatdelivery of multimedia
                                                                                                        are applicable    to many content  to cellular
                                                                                                                                    types of  wirelesssystems.
                                                                                                                                                        devices.
And we acquired Iridigm to gain access to its pioneering display technology. Another example, in 2000, we acquired Snap Track
which
Turning holds  a valuable
          to 015,    useful andportfolio of patents
                                   entertaining       related
                                                   BREW          to location-based
                                                             applications               services
                                                                              are translating      that are
                                                                                                directly intoapplicable   to many
                                                                                                              revenue gains         types
                                                                                                                                for the    of cellular
                                                                                                                                         mobile  marketsystems.
                                                                                                                                                          place.
I n June, we reported that BREW publishers and developers have earned more than $350 million from the sales of wireless
Turning   to QIS,
applications   anduseful      and aentertaining
                      services,       75% increase BREW
                                                      fromapplications        are translating
                                                              what we disclosed                 directly
                                                                                       in October        into revenue gains for the mobile market place.
                                                                                                    of 2004.
In June, we reported that BREW publishers and developers have earned more than $350 million from the sales of wireless
applications
We announced   andour  services,   a 75%suite
                           deliveryOne     increase   from what
                                                 of products,        we includes
                                                                 which    disclosedain    October
                                                                                        global      of 2004.agreement with ELATA to launch the content
                                                                                               distribution
delivery system. deliveryOne offers operators a choice of flexible, back-end solutions that enable them to remain committed to their
We announced our deliveryOne suite of products, which includes a global distribution agreement with ELATA to launch the content
existing device portfolio, and continue evolving their lineup to include handsets with new capabilities and more powerful service
delivery system. deliveryOne offers operators a choice of flexible, back-end solutions that enable them to remain committed to their
options,  such as 3-0 gaming and uiOne based on the BREW platform.
existing device portfolio, and continue evolving their lineup to include handsets with new capabilities and more powerful service
options, such as 3-D gaming and uiOne based on the BREW platform.
Electronic Arts, the world's leading independent publisher and developer of interactive entertainment software, announced an
agreementArts,
Electronic    to publish     wireless
                     the world's        games
                                    leading      developedpublisher
                                              independent      for the BREW       solution. And
                                                                            and developer           Macromedia
                                                                                             of interactive       announcedsoftware,
                                                                                                              entertainment      an agreement     with an
                                                                                                                                           announced
QUALCOMM
agreement     to to   develop
                  publish        commercial
                             wireless   gamesflash-based
                                                 developed for  services
                                                                    the BREW usingsolution.
                                                                                    the BREW Andsolution.           companiesan
                                                                                                            Theseannounced
                                                                                                   Macromedia                     join  an ever increasing
                                                                                                                                     agreement    with       list
of  distinguished
QUALCOMM          to software     developers flash-based
                      develop commercial        who are writing      exciting
                                                                services        applications
                                                                            using   the BREW   forsolution.
                                                                                                   the BREW     platform.
                                                                                                            These   companies join an ever increasing list
of distinguished software developers who are writing exciting applications for the BREW platform.
I n QWBS, the T2 Untethered TrailerTRACS solution continues to perform strongly meeting shipping goals and appealing to new
In QWBS, the
customers.    SinceT2 Untethered       TrailerTRACS
                         August of 2004,                solution
                                             nearly 42,000          continues
                                                               terminals             perform
                                                                             havetobeen        strongly
                                                                                          shipped.       meeting QWBS
                                                                                                     In addition,  shipping   goals and
                                                                                                                            shipped        appealing
                                                                                                                                       nearly 13,800 to   new
                                                                                                                                                       satellite-
customers.
based systems Since  in August
                         the thirdofquarter,
                                     2004, nearly    42,000
                                              compared         terminals have8,800
                                                           to approximately        been inshipped.   In addition,
                                                                                            the second     quarterQWBS
                                                                                                                   of fiscalshipped    nearly
                                                                                                                              2005. This      13,800
                                                                                                                                           brings      satellite-
                                                                                                                                                   cumulative
based
total   systems in the
      satellite-based        third quarter,
                           systems    shipped compared
                                                 worldwide to to
                                                               approximately
                                                                  nearly 556,000. 8,800 in the second quarter of fiscal 2005. This brings cumulative
total satellite-based systems shipped worldwide to nearly 556,000.
I would now like to turn the call over to Sanjay Jah.
I would now like to turn the call over to Sanjay Jah.
Sanjay Jah, QUALCOMM Inc. - EVP and President, COMA Technologies Group
Sanjay Jah, QUALCOMM Inc. - EVP and President, CDMA Technologies Group
Thanks, Steve.
Thanks,   Steve. And
                 And good
                      good afternoon,
                            afternoon, everyone.
                                       everyone. Here
                                                  Here are
                                                       are some  updates on
                                                           some updates    on the QCT business.
                                                                              the QCT  business. Revenue
                                                                                                  Revenue ofof $766  million for
                                                                                                               $766 million  for the
                                                                                                                                 the
q uarter was  driven by continued demand   for CDMA2000     1X products, including a 24%   increase in 1xEV-DO   volume
quarter was driven by continued demand for CDMA2000 1X products, including a 24% increase in 1xEV-DO volume quarter over  quarter  over
q uarter, and
quarter,  and a
              a substantial
                substantial demand
                            demand for             COMA products,
                                        wideband CDMA
                                    for wideband          products, including
                                                                    including a
                                                                              a doubling
                                                                                doubling of  wideband CDMA
                                                                                         of wideband   COMA MSMMSM volume
                                                                                                                     volume for
                                                                                                                              for the
                                                                                                                                  the
second   consecutive quarter.
second consecutive    quarter. The
                               The MSM6100,
                                   MSM6100, MSM6500,
                                               MSM6500, andand MSM6550
                                                               M5M6550 integrated
                                                                           integrated multimedia
                                                                                      multimedia chipsets
                                                                                                  chipsets are
                                                                                                           are tracking  strong volumes
                                                                                                               tracking strong   volumes
in Korea and Japan and ramping down in the U.S. U.S. as Verizon and Sprint extend their deal rollouts.

LG launched their FDMV [ph]
                        [ph] phone without a co-processor,
                                             co-processor, instead relying solely on the multimedia
                                                                                         multimedia processing capabilities and
integrated 225 Megahertz microprocessor of our MSM6550
                                               M5M6550 chipset.
                                                          chipset. Our investments over the last two years with our multimedia
                                                                                                                    multimedia
and enhanced multimedia platform chipsets are paying off
                                                     off with more
                                                              more than 30 EV-DO phones currently launched based on
MSM6500
MSM6500 andand many
               many additional
                    additional MSM6550
                               MSM6550 phones
                                         phones designed   for Japan,
                                                 designed for  Japan, Korea
                                                                      Korea and   the Americas.
                                                                             and the  Americas.
We
We are
     are very
         very pleased
              pleased with  the great
                       with the       deal of
                                great deal    traction QCT
                                           of traction QCT wideband
                                                             wideband CDMA   solutions are
                                                                      COMA solutions   are receiving from customers
                                                                                           receiving from customers as
                                                                                                                    as the
                                                                                                                       the year-end
                                                                                                                           year-end
selling season  approaches.   The  MSM6250     is gaining stronger acceptance in both Asia and in Europe. We  have also
selling season approaches. The M5M6250 is gaining stronger acceptance in both Asia and in Europe. We have also completedcompleted
extensive [inaudible] testing of our HSDPA solution to enable MSM6275-based handsets and data cards to be launched this year.
extensive  [inaudible] testing of our HSDPA solution to enable M5M6275-based handsets and data cards to be launched this year.
In September quarter, we expect to start volume shipment of our -- of our MSM6275 chipset.
I n September quarter, we expect to start volume shipment of our -- of our M5M6275 chipset.
In Japan, Toshiba has launched a phone based on our solution for Vodafone KK. Samsung V500 and V300 have launched at PMN
I n Japan,Telecom
Portugal,    Toshiba has
                       Italialaunched   a phone and
                               Mobile, Orange,     based    on ourvodaphone
                                                        multiple    solution formarkets
                                                                                  Vodafone     KK. Samsung
                                                                                            in Europe.          V500 began
                                                                                                        LG recently    and V300     have
                                                                                                                               selling  itslaunched   at PMN
                                                                                                                                             UA210 phone
Portugal,
with        Telecom
       Orange.   Today,Italia
                          thereMobile,  Orange,
                                 are more   than and    multiple vodaphone
                                                   16 commercially     available markets
                                                                                   devicesinbased
                                                                                               Europe.onLG
                                                                                                         ourrecently
                                                                                                              wideband began
                                                                                                                          CDMA selling  its UA210
                                                                                                                                   chipset           phone
                                                                                                                                              solution, with
with Orange.
over             Today,
       30 additional     theredesigns
                       active    are more   than 16for
                                          expected     commercially
                                                         launch by the  available  devices
                                                                           end of the         based
                                                                                         calendar     on and
                                                                                                   year  our wideband     COMA
                                                                                                              the first half 2006.chipset solution, with
over 30 additional active designs expected for launch by the end of the calendar year and the first half 2006.
In the June quarter, downward pressure on our chipset ASPs, in part caused by ramping demand for the MSM6,000 and 6025
CDMA     solution
I n the June       was downward
               quarter,  offset by favorable
                                      pressurechanges       in our product
                                                  on our chipset    ASPs, inmix,partattributable
                                                                                     caused byto     increasing
                                                                                                   ramping       volume
                                                                                                             demand    for for
                                                                                                                           the1xEV-DO
                                                                                                                                MSM6,000     wideband
                                                                                                                                               and 6025
CDMA and       higher
         solution  was multimedia    capable chipset
                         offset by favorable     changes volumes.    For themix,
                                                            in our product     second    quarter, to
                                                                                    attributable   weincreasing
                                                                                                       again expect   a sequential
                                                                                                                 volume    for 1xEV-DOincrease    in our
                                                                                                                                             wideband
ASPs.
COMA This      increase
         and higher        is expected
                       multimedia        to keep
                                     capable       our ASP
                                                chipset       at the For
                                                         volumes.    same thelevel  or marginally
                                                                               second    quarter, wehigher
                                                                                                       againthan the a
                                                                                                              expect  ASP    in the fourth
                                                                                                                         sequential          quarter
                                                                                                                                      increase        of fiscal
                                                                                                                                                  in our
2004.
ASPs. This increase is expected to keep our ASP at the same level or marginally higher than the ASP in the fourth quarter of fiscal
2004.
In line with our guidance, our operating margin for the June quarter was approximately 24% of revenue, up from 21% last quarter.
For   thewith
I n line  September     quarter,
              our guidance,       we
                                our   expect another
                                    operating    margin sequential
                                                          for the June increase
                                                                          quarterinwasQCT    operating margin.
                                                                                          approximately   24% of We   continue
                                                                                                                   revenue,    uptofrom
                                                                                                                                     see21%increasing
                                                                                                                                                last quarter.
demand for our solutions. For the current September quarter, we expect to ship between 38 and 40 million MSM chips.
For the September quarter, we expect another sequential increase in OCT operating margin. We continue to see increasing
demand
And    nowfor  ourturn
            I will  solutions.
                       the call For
                                 overthe
                                       to current   September
                                           Bill Keitel                      we expect to ship between 38 and 40 million MSM chips.
                                                                  quarter,overview.
                                                       for the financial
And Keitel,
Bill now I will turn the callInc.
            QUALCOMM           over to BillCFO
                                  - EVP,    Keitel for the financial overview.

Bill Keitel,
Thank   you, QUALCOMM
              Sanjay. Good Inc.     - EVP, CFO
                               afternoon,   everyone. I am pleased to report QUALCOMM pro forma third-quarter results met or
exceeded our prior guidance, were positively impacted by a growing base of WCDMA subscribers. Pro forma June quarter
Thank
revenues you, Sanjay. Good
            increased          afternoon, everyone.
                         2% year-over-year,              I am earnings
                                                and diluted     pleased toperreport
                                                                               shareQUALCOMM         pro forma our
                                                                                       were $0.28 exceeding     third-quarter
                                                                                                                    prior guidance resultsofmet or to $0.26,
                                                                                                                                             $0.24
again, on the
exceeded     ourstrength   of WCDMA
                 prior guidance,     wereshipments
                                           positively in  Japan. By
                                                       impacted    by athe  way, asbase
                                                                         growing      many ofyou  know,subscribers.
                                                                                              WCDMA     our pro formaProreporting
                                                                                                                            forma June excludes   the QSI
                                                                                                                                            quarter
segment,
revenues and     reports
            increased    2%ouryear-over-year,
                               revenues as ifand the new    method
                                                      diluted         of royalty
                                                               earnings           recognition
                                                                           per share            had exceeding
                                                                                       were $0.28   been in effect
                                                                                                                ourfor  all guidance
                                                                                                                    prior    of 2004. of $0.24 to $0.26,
again, on the strength of WCDMA shipments in Japan. By the way, as many you know, our pro forma reporting excludes the QS!
QTL reported
segment,    and royalty
                 reportsrevenues           as if the new 43
                                      on approximately
                           our revenues                        million
                                                            method       royaltyand
                                                                      ofCDMA          WCDMAhad
                                                                                  recognition    handsets
                                                                                                    been insold  worldwide
                                                                                                            effect for all ofin2004.
                                                                                                                                   the March quarter
compared to approximately 38 million units in the same period last year. QCT shipped approximately 36 million MSM phone chips
compared
QTL reported to approximately
                 royalty revenues 35 million  in the year-ago
                                      on approximately           quarter.
                                                           43 million   COMA and WCDMA handsets sold worldwide in the March quarter
compared to approximately 38 million units in the same period last year. OCT shipped approximately 36 million MSM phone chips
I will now mention several highlights in our fiscal third-quarter results. First, we reported $0.33 diluted earnings per share on a
compared     to approximately 35 million in the year-ago quarter.
GAAP basis. QSI reported earnings of $0.05 per share on the strength of realized investment gains. Due to these realized
additional capital gains, we now expect to utilize additional capital loss carry-forwards, which also benefited QSI results. As a
I will now mention
reminder,   we includeseveral   highlightsexpenses
                          the operating     in our fiscal  third-quarter
                                                       related             results. First,
                                                                to the development       of we
                                                                                            ourreported
                                                                                                MediaFLO $0.33
                                                                                                           USA  diluted  earnings
                                                                                                                  operator    business per in
                                                                                                                                            share  on a
                                                                                                                                              the QSI
GAAP basis.
segment.    AndQSIthisreported
                       treatmentearnings    of $0.05
                                   is consistent   withper
                                                        ourshare
                                                             intentontothe  strengthdivest
                                                                        ultimately     of realized investment
                                                                                             the business      gains. Due
                                                                                                          by spinning    it offtotothese   realized
                                                                                                                                    our stockholders.
additional capital gains, we now expect to utilize additional capital loss carry-forwards, which also benefited QS! results. As a
reminder, we include the operating expenses related to the development of our MediaFLO USA operator business in the QSI
segment. And this treatment is consistent with our intent to ultimately    Exhibit 72divest the business by spinning it off to our stockholders.                    LP_0005909

                                                                             1158

                                                                                                                                                                    LP_0005909
                              Case 3:17-cv-00121-JO-MSB
Second, we continue to be active   in returning capital Document  255-68 Filed 08/22/22
                                                         to our stockholders.           PageID.11361
                                                                                 In the June  quarter,Page
                                                                                                       we 5distributed
                                                                                                            of 10      $147 million in
dividends, and repurchased approximately 20.9 million shares for approximately $723 million. Since our $2 billion buyback
authority was announced on March 8th of this year, we have repurchased more than 27 million shares for a total investment of
Second,  we continue to be active  in returning                                               quarter, we distributed
                                                                                                              which, if$147 millionwould
                                                                                                                                    in
approximately  $953 million. We have    also soldcapital to options
                                                   two put  our stockholders.   In the June
                                                                    for an additional   11.5 million shares,           exercised,
dividends, and repurchased approximately 20.9 million shares for approximately $723 million. Since our $2 billion buyback
amount to an additional net investment of $389 million.
authority was announced on March 8th of this year, we have repurchased more than 27 million shares for a total investment of
approximately $953 million. We have also sold two put options for an additional 11.5 million shares, which, if exercised, would
Third, during the June quarter, we made an election to compute our California tax on the basis of our U.S. operations only, which
amount to an additional net investment of $389 million.
resulted in a $38 million tax benefit, a portion of which related to fiscal 2004. The pro forma June quarter presentation, we excluded
the $0.01
Third,     earnings
       during       perquarter,
              the June   share ofwe
                                  this tax benefit
                                     made          attributable
                                            an election         to fiscal
                                                        to compute    our2004.
                                                                          California tax on the basis of our U.S. operations only, which
resulted in a $38 million tax benefit, a portion of which related to fiscal 2004. The pro forma June quarter presentation, we excluded
Fourth,
the     weearnings
    $0.01   continueper
                     to invest in our
                         share of this businesses,  and we aretopleased
                                       tax benefit attributable           to see the benefits of those investments reflected in the many
                                                                 fiscal 2004.
innovative product releases from our different business segments. Our operating expenses, which includes R&D plus SG&A,
Fourth, weapproximately
increased   continue to invest
                          29%ininour
                                  thebusinesses,    and weof
                                      first three quarters are  pleased
                                                             fiscal 2005to see the benefits
                                                                         compared           of those
                                                                                    to the same      investments
                                                                                                 period            reflected
                                                                                                        of last year.        in the many
                                                                                                                      This growth
innovative to
continues   product releases
              be driven      fromby
                        primarily  our different business segments. Our operating expenses, which includes R&D plus SG&A,
                                    R&D.
increased approximately 29% in the first three quarters of fiscal 2005 compared to the same period of last year. This growth
continues     be driven primarily
           to operating
Fifth, QCT's                      by R&D. to 24% in the June quarter, up from 21% in the March quarter, driven by favorable product
                        margin increased
mix, including increased shipments of EV-DO and WCDMA MSMs.
Fifth, QCT's operating margin increased to 24% in the June quarter, up from 21% in the March quarter, driven by favorable product
mix, QTL
Six,  including increased
           reported a 91%shipments  of EV-DO
                          operating margin    andJune
                                           in the WCDMA    MSMs.
                                                      quarter. We estimate the WCDMA -- the WCDMA royalties increased to
approximately
Six,           36%a of
     QTL reported   91%total royaltiesmargin
                           operating    reported  by licensees
                                               in the           for shipments
                                                      June quarter.            in the
                                                                     We estimate   theMarch
                                                                                        WCDMA quarter,
                                                                                                  -- theup from approximately
                                                                                                         WCDMA                    32% last
                                                                                                                    royalties increased  to
q uarter and approximately   25%   in the  same  period last year. Of the $448  million in QTL  revenues    for the  June  quarter,
approximately 36% of total royalties reported by licensees for shipments in the March quarter, up from approximately 32% last       29 million
represented
quarter      intercompany 25%
         and approximately   royalties,
                                   in thelicense
                                           same fees  were
                                                 period last18 million,
                                                             year.      and
                                                                   Of the   royalties
                                                                          $448  millionfrom licensees
                                                                                        in QTL  revenueswerefor401
                                                                                                                the million.
                                                                                                                     June quarter, 29 million
represented intercompany royalties, license fees were 18 million, and royalties from licensees were 401 million.
Worldwide WCDMA handsets shipped in the March quarter were approximately 43 million units, above our 40 to 42 million
estimate
Worldwide  provided
             WCDMA  in handsets
                       April. Primarily driven
                                  shipped       byMarch
                                           in the  strength  in Japanese
                                                          quarter         WCDMA shipments.
                                                                  were approximately   43 millionThe  March
                                                                                                   units,     quarter
                                                                                                          above       average
                                                                                                                 our 40       selling price of
                                                                                                                        to 42 million
estimate
CDMA phonesprovided
                 wasinapproximately
                       April. Primarily$231,
                                        driven  by strength
                                             compared        in Japanese
                                                         to $207          WCDMA shipments.
                                                                  in the December   quarter andTheour March  quarter of
                                                                                                      prior estimate  average selling
                                                                                                                        $215 for       price of
                                                                                                                                  the March
CDMA
q uarter.phones
          ASPs onwas  approximately $231,
                   a region-by-region        compared
                                         basis  continue to
                                                         to $207
                                                            track in the December
                                                                  closely           quarter and our prior estimate of $215 for the March
                                                                          to our expectations.
quarter. ASPs on a region-by-region basis continue to track closely to our expectations.
I'l l now turn to our forward-looking guidance. We estimate that licensees shipped approximately 43 to 45 million CDMA handsets in
I'll
thenow
     Juneturn to ourwhich
           quarter,  forward-looking
                          in turn will guidance.  Wefor
                                       be the basis    estimate   that licensees
                                                         our September           shipped
                                                                           quarter royalty approximately
                                                                                           revenues. We 43  to 45 million
                                                                                                         estimate         CDMAselling
                                                                                                                   the average   handsets   in
                                                                                                                                        price
the
wasJune    quarter, which
      approximately   $215inmillion
                             turn will
                                    perbeunit,
                                           thereflecting
                                               basis for a
                                                         our September
                                                           shift           quarter
                                                                 in regional       royalty
                                                                             handset       revenues.
                                                                                      mix as         Wetoestimate
                                                                                              compared    the priorthe average
                                                                                                                    quarter,    selling price
                                                                                                                             including
was approximately $215 million per unit, reflecting a shift in regional handset mix as compared to the prior quarter, including
sequential   growth in shipments to North America, India, and Europe, and a sequential decrease in Japan and South Korea.
sequential growth in shipments to North America, India, and Europe, and a sequential decrease in Japan and South Korea.
We expect
We  expect fourth-quarter  QUALCOMM pro forma revenues to be approximately $1A3 to $1.53 billion and pro forma diluted
            fourth-quarter QUALCOMM pro forma revenues to be approximately $1.43 to $1.53 billion and pro forma diluted
earnings  per share
earnings per         of approximately
               share of approximately $0.29
                                       $0.29 to
                                             to $0.31.      anticipate shipments
                                                       We anticipate
                                                $0.31. We                         of approximately
                                                                       shipments of  approximately 38   million to
                                                                                                     38 million to 40 million MSM
                                                                                                                   40 million  MSM phone
                                                                                                                                     phone
chips during the
chips during      September quarter
              the September   quarter compared
                                      compared toto 36 million units
                                                    36 million units shipped in the
                                                                     shipped in     June quarter,
                                                                                the June  quarter, a
                                                                                                   a sequential  increase including
                                                                                                     sequential increase    including
continued  growth of
continued growth   of WCDMA
                      WCDMA andand EV-DO
                                    EV-DO MSMs.
                                            MSMs.

We estimate pro forma operating expenses,
                                  expenses, again,                   combined, for the fourth quarter will grow approximately 7
                                             again, R&D and SG&A combined,                                                    7 to
11%                          2005, we estimate pro forma revenues to be approximately $5.55 to $5.65 billion, up approximately 10
11% sequentially. For fiscal 2005,
to 12% year-over-year.
        year-over-year. We anticipate pro forma diluted earnings per share of $1.13 to $1.15,
                                                                                       $1.15, an increase of approximately 66 to 7%
                                                                                                                                 7%
over
over fiscal 2004 and a midpoint
                       midpoint of $0.02 high are than our prior guidance.
                                                                 guidance.
We
We now
    now estimate             2005 CDMA
                   calendar 2005
         estimate calendar        CDMA handset    shipments of
                                         handset shipments    of 198
                                                                 198 million   to 208
                                                                       million to 208 million
                                                                                      million units,
                                                                                              units, a reduction of
                                                                                                     a reduction of approximately 5%
                                                                                                                    approximately 5%
from our
from our prior estimate. Using
         prior estimate.        the midpoint
                          Using the midpoint of 203 million
                                             of 203 million units,
                                                            units, this
                                                                   this is
                                                                        is approximately
                                                                           approximately 4545 million
                                                                                              million WCDMA
                                                                                                      WCDMA handsets
                                                                                                                handsets and
                                                                                                                         and
approximately   158 million CDMA2000    handsets. Our  current  handset    guidance  reflects a lower  expectation
approximately 158 million CDMA2000 handsets. Our current handset guidance reflects a lower expectation for CDMA2000for CDMA2000
handset shipments in China and lower-than-expected WCDMA handset shipments in Europe; however, we continue to see a
handset shipments in China and lower-than-expected WCDMA handset shipments in Europe; however, we continue to see a
healthy rate of WCDMA unit growth in Europe for the second half of 2005 and into 2006. Due in part by the trends we see in
healthy rate of WCDMA unit growth in Europe for the second half of 2005 and into 2006. Due in part by the trends we see in
WCDMA handset pricing.
WCDMA handset pricing.
Our Investor Relations website has a detailed breakdown of the handset shipment estimate by region and technology. Based on
Ourcurrent
the  Investor Relations
            business    website
                     outlook,  wehas a detailed
                                  estimate  that breakdown of the
                                                 handset ASPs  willhandset
                                                                    averageshipment estimate
                                                                            approximately    by for
                                                                                          $215   region and
                                                                                                    fiscal   technology.
                                                                                                           2005 comparedBased
                                                                                                                         to   on
the current business
approximately        outlook,
               $205 for        we estimate that handset ASPs will average approximately $215 for fiscal 2005 compared to
                        fiscal 2004.
approximately $205 for fiscal 2004.
In closing, we are pleased with how our Company is executing across all business groups. The growing adoption of CDMA-based
3G   technology
I n closing,     across
             we are     many
                    pleased   consumer
                            with how oursegments
                                         Companyand   regions around
                                                  is executing acrossthe  world continues
                                                                      all business  groups.toThe
                                                                                               drive strongadoption
                                                                                                  growing   financial of
                                                                                                                      results  for our
                                                                                                                         CDMA-based
Company.
3G           Moreover,
     technology  acrossour WCDMA
                        many       and EV-DO
                              consumer        MSM
                                        segments andshipments  are ramping
                                                      regions around         well,
                                                                     the world     a positive
                                                                                continues   toleading  indicator
                                                                                               drive strong      for our
                                                                                                            financial    stockholders.
                                                                                                                       results for our
Company. Moreover, our WCDMA and EV-DO MSM shipments are ramping well, a positive leading indicator for our stockholders.
That concludes my comments. I will now turn the call back to Bill Davidson.
That concludes my comments. I will now turn the call back to Bill Davidson.
Bill Davidson, QUALCOMM Inc. - VP, IR
Bill Davidson,
Thank  you, Bill. QUALCOMM
                  Before we go Inc.
                               into-our
                                     VP,question-and-answer
                                         IR                 session, I'd like to remind our participants that our goal is to address
as many questions as possible. Therefore, I would like to ask each of you to limit yourself to one question. And we are ready for
Thank you,Operator.
questions,  Bill. Before we go into our question-and-answer session, I'd like to remind our participants that our goal is to address
as many questions as possible. Therefore, I would like to ask each of you to limit yourself to one question. And we are ready for
q uestions, Operator.
QUESTIONS AND ANSWERS
QUESTIONS AND ANSWERS
Answer — Operator: Thank you, sir. [OPERATOR INSTRUCTIONS] Our first question comes from the line of Tal Liani at Merrill
Lynch. Please proceed with your question.
Answer — Operator: Thank you, sir.[OPERATOR INSTRUCTIONS] Our first question comes from the line of Tal Liani at Merrill
Lynch. Please proceed with your question.
Analyst: Tal Liani, Merrill Lynch - Analyst

Question — Tal Liani: Hi. My question is related to handset shipment, the chip shipment. The question is if you assume about 44 --
Analyst: Tal Liani, Merrill Lynch - Analyst
sorry 39 million MSM chips for 4Q, and then I look at the estimates for next quarter for handset shipment and I assume that
WCDMA chip shipment is negligible number, maybe a million unit of your estimate. Then your chip shipment almost exceeds your
Question — Tal Liani: Hi. My question is related to handset shipment, the chip shipment. The question is if you assume about 44 --
CDMA handset shipment. We can estimate the CDMA and the WCDMA. So the issue is, do you expect the chip shipment really to
sorry
exceed   million MSM
      39handset       chipsdo
                 shipment,   foryou
                                 40,expect
                                     and then  I looksome
                                            to build  at theinventory?  for next quarter
                                                              estimatesBecause            for few
                                                                                  in the last handset shipment
                                                                                                  quarters,     andsay
                                                                                                            you did  I assume  that
                                                                                                                        that you worked
WCDMA    chip  shipment  is negligible
the inventories down. Thanks.          number,  maybe   a million unit of your estimate.  Then  your chip shipment  almost exceeds  your
CDMA handset shipment. We can estimate the CDMA and the WCDMA. So the issue is, do you expect the chip shipment really to
Answer    — Bill Keitel:
exceed handset           Tal, this
                    shipment,      is Bill
                               do you      Keitel.
                                       expect   toI build
                                                    will try to answer
                                                           some        your Because
                                                                 inventory? question here.
                                                                                     in the First
                                                                                            last few  quarters,
                                                                                                  on the WC -- you
                                                                                                                yourdid say that you
                                                                                                                     assumption      worked
                                                                                                                                  on WCDMA
chips,
the    I will just down.
    inventories    say that you are quite a bit low there. We are not going to disclose a specific number, but your number is quite low.
                         Thanks.

Answer — Bill Keitel: Tal, this is Bill Keitel. I will try to answerExhibit 72
                                                                     your question  here. First on the WC -- your assumption on WCDMA             LP_0005910

chips, I will just say that you are quite a bit low there. We are not 1159
                                                                        going to disclose a specific number, but your number is quite low.
                                                                                                                                                  LP_0005910
                              Case 3:17-cv-00121-JO-MSB
In terms of the channel inventory,                       Document 255-68
                                    I've seen a slight downward    trend Filed 08/22/22
                                                                          in the         PageID.11362
                                                                                  last quarter.          Pagewe
                                                                                                 I still see 6 of are
                                                                                                                  10 within that 15 to 20-week
band that we have seen now for some time. More to the midpoint of that band and a level that I am comfortable. I am not expecting
major
In     ups
   terms ofor downs
            the      in reaction
                channel          to the
                         inventory, I've level
                                         seen of  channel
                                               a slight   inventorytrend
                                                        downward     that's
                                                                          in out
                                                                             thethere.
                                                                                  last quarter. I still see we are within that 15 to 20-week
band that we have seen now for some time. More to the midpoint of that band and a level that I am comfortable. I am not expecting
Question
major ups —
          orTal Liani:
             downs     Did you disclose
                    in reaction          theof
                                to the level WCDMA
                                               channelhandset shipment
                                                       inventory         this
                                                                 that's out   quarter?
                                                                            there.

Question
Answer — —Bill
            TalDavidson:
                Liani: Did No,
                           you we don't. the WCDMA handset shipment this quarter?
                               disclose

Answer
Question— —Bill
            TalDavidson:  No, we don't.
                Liani: Okay.
            Tal Liani:Our
Question— —Operator:
Answer                 Okay.
                          next question comes from the line of Ed Snyder at Charter Equity. Please proceed with your question.
Answer — Operator: Our next question comes from the line of Ed Snyder at Charter Equity. Please proceed with your question.
Analyst: Ed Snyder, Charter Equity - Analyst
Analyst: Ed Snyder, Charter Equity - Analyst
Question — Ed Snyder: Thank you very much. Obviously, you mentioned you signed up a few more of Chinese OEMs, and it
looks like we
Question       areSnyder:
            — Ed     seeing --  the reports
                             Thank          that
                                     you very    we are
                                               much.     getting out
                                                       Obviously,      lot of the other
                                                                     a mentioned
                                                                   you                you OEMs
                                                                                           signed have   moved
                                                                                                    up a few    in the
                                                                                                             more       industryOEMs,
                                                                                                                    of Chinese  overall and
                                                                                                                                        for ASPs
                                                                                                                                             it
looks  like we
to decline.    are
             Not     seeing
                  seeing     -- as
                          that  theacute.
                                    reportsWhat
                                            that are
                                                 we are  getting
                                                      we to      outgiven
                                                            expect   a lot that
                                                                            of the
                                                                                 weother   OEMs
                                                                                     will see      have mix
                                                                                               a larger  moved  in the industry
                                                                                                            of probably   COMA overall
                                                                                                                                 in somefor
                                                                                                                                          ofASPs
                                                                                                                                             the
to decline.markets
emerging     Not seeing    that asbeyond
                      for ASPs     acute. next
                                           Whatquarter,
                                                 are we especially
                                                         to expect given   that we
                                                                    with regard    towill
                                                                                      someseeofa the
                                                                                                 larger mix of
                                                                                                     EV-DO     probably
                                                                                                             and WCDMA    CDMA   in some
                                                                                                                            handsets  thatofyou
                                                                                                                                             theare
emerging
selling     markets
         now.         for ASPs to
              Is it reasonable    beyond
                                    expectnext
                                            thatquarter, especially
                                                 we should          withdecline
                                                             see ASPs    regard more
                                                                                   to some   of the
                                                                                          rapidly    EV-DO
                                                                                                   than      and WCDMA
                                                                                                        we have             handsets
                                                                                                                 historically?        thatimpact
                                                                                                                               And what    you are
selling
are younow.   Is it reasonable
          projecting  for that ontoyour
                                    expect  that we
                                        royalties    should
                                                  in the     year.ASPs decline more rapidly than we have historically? And what impact
                                                         out see
are you projecting for that on your royalties in the out year.
Answer — Bill Keitel: Ed, Bill Keitel again. I would say, Ed, that within the handset prices, the estimated actuals provided and then
Answer — Bill Keitel: Ed, Bill Keitel again. I would say, Ed, that within the handset
our guidance here for our September quarter. There are very low prices selling intoprices,    the estimated
                                                                                       the low-end  markets.actuals       provided
                                                                                                                  We believe       and
                                                                                                                               China is then
our guidance here for our September quarter. There are very low prices selling into the low-end markets. We believe China is
getting some very low-cost phones, India and Latin America are probably the three more prominent markets. But within that
getting some very low-cost phones, India and Latin America are probably the three more prominent markets. But within that
average selling
average          price that
         selling price      you are
                       that you are seeing, because there
                                    seeing, because        are so
                                                     there are     many feature-rich
                                                               so many                phones selling,
                                                                         feature-rich phones  selling, it's
                                                                                                       it's --
                                                                                                            -- it's
                                                                                                               it's not
                                                                                                                    not coming
                                                                                                                        coming through   in
                                                                                                                                through in
the average.
the average.
But II would
But    would add
              add that
                   that II am expecting the
                           am expecting     -- the
                                        the --     price of
                                               the price of the
                                                            the low-end phones to
                                                                low-end phones    get a
                                                                               to get a bit
                                                                                        bit lower
                                                                                            lower in
                                                                                                  in the
                                                                                                     the coming
                                                                                                         coming quarter,
                                                                                                                quarter, but,
                                                                                                                         but, again,
                                                                                                                              again, the
                                                                                                                                     the
rate of -- of feature-rich phones that carriers and consumers are demanding is such that II think the ASP will only come down
modestly for next quarter.

Answer — Operator:
           Operator: Our next question comes from the line of Brian Thompson at Goldman Sachs.
                                                                                        Sachs. Please proceed with your
question.
q uestion.

Analyst:
Analyst: Brant Thompson, Goldman
         Brant Thompson,         Sachs -- Analyst
                         Goldman Sachs    Analyst
Question — Brant Thompson: Hi. I was wondering if you could talk a little bit about the progression of R&D over the next couple
Question — Brant Thompson: Hi. I was wondering if you could talk a little bit about the progression of R&D over the next couple
of quarter. It came in a little lighter than what we were looking for. And how do you guys see managing that R&D investment over
of
thequarter. It came
    next couple     in a little lighter
                 of quarters?           than what we were looking for. And how do you guys see managing that R&D investment over
                                  Thanks.
the next couple of quarters? Thanks.
Answer — Dr. Paul Jacobs: In general, we're slowing down a bit in terms of adding the number of new employees. We are also
Answerat— putting
looking      Dr. Paul    Jacobs:
                      some   R&D In   general,
                                   into          we're
                                         lower cost     slowingSo
                                                     regions.     down     a bitgrowing
                                                                       we are    in termsinof  adding
                                                                                            India.  Wethe
                                                                                                        arenumber
                                                                                                            startingof
                                                                                                                     tonew
                                                                                                                         growemployees.
                                                                                                                              a little bit inWe  are also
                                                                                                                                              China.  So we
looking
are       at putting
     actually  tryingsome    R&D into
                       to manage         lowerinvestment
                                    the R&D     cost regions.now.SoObviously,
                                                                       we are growing    in aIndia.
                                                                                   there is         We are
                                                                                               build-up thatstarting
                                                                                                             happens to just
                                                                                                                         grow a little bit
                                                                                                                             because    of in China.
                                                                                                                                            the numberSoof
                                                                                                                                                         we
are actuallythat
employees      trying
                    wetobrought
                          manage  onthe  R&Dand
                                      board,   investment    now.
                                                   so you will   stillObviously,
                                                                        see growth.there
                                                                                      Butisas
                                                                                            a you
                                                                                               build-up that happens
                                                                                                    are seeing          just because
                                                                                                                also, QCT's   operating of margins
                                                                                                                                            the number  of
                                                                                                                                                     came
up and a lotthat
employees      of that
                    we comes
                         broughtfrom   the fact
                                  on board,     that
                                              and  sowe  are
                                                       you     selling
                                                            will         thegrowth.
                                                                 still see   higher-end    chipsets
                                                                                      But as   you arethat we are
                                                                                                        seeing     building
                                                                                                                also, QCT'swith   this R&D
                                                                                                                              operating       investment.
                                                                                                                                            margins  came
So  I think
up and      theofR&D
         a lot    that investment
                        comes fromhas  the been  wellwe
                                           fact that  justified  by that.
                                                          are selling    the higher-end chipsets that we are building with this R&D investment.
So I think the R&D investment has been well justified by that.
Question — Brant Thompson: Thank you.
Question — Brant Thompson: Thank you.
Answer — Operator: Our next question comes from the line of Wojtek Uzdelewicz at Bear Stearns. Please proceed with your
question.
Answer — Operator: Our next question comes from the line of Wojtek Uzdelewicz at Bear Stearns. Please proceed with your
q uestion.
Analyst: Wojtek Uzdelewicz, Bear Stearns - Analyst

Analyst:
QuestionWojtek Uzdelewicz,
         — Wojtek          BearThank
                  Uzdelewicz:   Stearns
                                     you- very
                                          Analyst
                                               much. In terms of -- if you can give us a little clarification in terms of your
guidance, which is very explicit, but still one thing I want to clear. You talk about sequentially essentially not a lot of unit handset
Question
sales       — Wojtek
       growth,         Uzdelewicz:
               and a little              Thanksales,
                             higher chipset       you very   much.
                                                        but still     In earnings
                                                                   your  terms of --  if expected
                                                                                    are  you can give   usup
                                                                                                    to go   a little clarification
                                                                                                               despite   even ASPs in terms
                                                                                                                                       goingofdown.
                                                                                                                                                 your So I am
just curious,
guidance,     can is
            which  you  give
                     very     us a little
                            explicit,  butbit
                                           stillsense -- do I you
                                                 one thing     want expect  operating
                                                                      to clear. You talkmargins    for the chipsets
                                                                                           about sequentially          to go up?
                                                                                                                 essentially   notAnd
                                                                                                                                    a lotalso  in terms
                                                                                                                                          of unit        of
                                                                                                                                                   handset
royalties
sales     related
       growth, andtoathat.
                      littleWould
                             higheryou     expect
                                      chipset       those
                                                 sales, but--still
                                                               those
                                                                   yourroyalties
                                                                         earnings-- are
                                                                                    the expected
                                                                                         rate of royalties
                                                                                                    to go upto go   up? Is
                                                                                                               despite      thatASPs
                                                                                                                         even    already   -- because
                                                                                                                                        going   down. Soin the
                                                                                                                                                           I am
pastcurious,
just  you mentioned
              can youthat
                        givesome
                              us a of   thebitlicensees
                                    little      sense -- --
                                                         dosome      of the sharing
                                                              you expect    operating of margins
                                                                                         the royalties  willchipsets
                                                                                                   for the   expire. Are
                                                                                                                       to goyou
                                                                                                                              up?starting
                                                                                                                                   And alsoto see  effectof
                                                                                                                                               in terms   of
that?
royalties related to that. Would you expect those -- those royalties -- the rate of royalties to go up? Is that already -- because in the
past you mentioned that some of the licensees -- some of the sharing of the royalties will expire. Are you starting to see effect of
And then just very -- just clarification very quickly. In a press release, there was $20 million in net realized gains. If I exclude that, I
that?
will get to about $0.27 in EPS. Is that correct?
And then—just
Answer      Billvery   -- just
                  Keitel:      clarification
                            Okay.             veryon
                                   Wojtek, first      quickly. In a press
                                                         the margin        release,
                                                                      question, yes,there was
                                                                                     we are     $20 million
                                                                                              looking        in net
                                                                                                      for a very    realized
                                                                                                                  strong     gains. If quarter
                                                                                                                         September     I exclude
                                                                                                                                               in that,
                                                                                                                                                   QCT.I
will get
We   are to aboutfor
         looking    $0.27
                       ASPinon EPS.   Is thattocorrect?
                                 average        edge up just a bit. And -- and we are expecting the operating margin to improve sequentially
next quarter. On the -- on the QTL side, we indicated a -- an increase in the number of phones that we expect we will be recording
Answer —on,
royalties    Bill Keitel: aOkay.
               although      slightWojtek,
                                     decrease firstinon the
                                                      the    margin
                                                           ASP,       question,
                                                                 primarily      yes,of
                                                                           because   wethe
                                                                                         areregional
                                                                                              lookingmix
                                                                                                      for athat
                                                                                                             very
                                                                                                                westrong September
                                                                                                                    see the            quarter in
                                                                                                                            phones shipping        OCT.
                                                                                                                                                into for
We   are looking   for ASP    on  average   to  edge     up just a bit. And -- and we  are expecting   the  operating  margin to improve
the next quarter. But all in all, I would say it is a very positive outlook and stronger on the WCDMA and DO sides, both chips and          sequentially
next quarter. On the -- on the QTL side, we indicated a -- an increase in the number of phones that we expect we will be recording
phones.
royalties on, although a slight decrease in the ASP, primarily because of the regional mix that we see the phones shipping into for
Question
the        — Wojtek
    next quarter. ButUzdelewicz:      So no
                      all in all, I would saychange    to the
                                              it is a very    royaltyoutlook
                                                            positive  rate at and
                                                                              this stronger
                                                                                   point yet?on the WCDMA and DO sides, both chips and
phones.
Answer — Bill Keitel: The royalty rate is the same licensee by licensee -- every licensee has the same royalty rate regardless of
technology.
Question — So royalty
            Wojtek    rate, you shouldn't
                   Uzdelewicz:             see fluctuation
                                 So no change              in. rate at this point yet?
                                                  to the royalty
Answer — Dr. Paul Jacobs: Just to clarify. There's no -- there is no fluctuation in the royalty rate, and the -- the royalty rate per
Answer — Bill Keitel: The royalty rate is the same licensee by licensee -- every licensee has the same royalty rate regardless of
licensee is not changing as a result of the royalty sharing issue.
technology. So royalty rate, you shouldn't see fluctuation in.
Question — Wojtek Uzdelewicz: I am sorry, no, what I meant is -- you disclosed a couple of quarters ago that there is -- there are
Answer — Dr. Paul Jacobs: Just to clarify. There's no -- there is no fluctuation in the royalty rate, and the -- the royalty rate per
licensee is not changing as a result of the royalty sharing issue.                                                                                                LP_0005911

                                                                          Exhibit 72
Question — Wojtek Uzdelewicz: I am sorry, no, what I meant is -- you disclosed a couple of quarters ago that there is -- there are
                                                            1160

                                                                                                                                                                  LP_0005911
                                Case 3:17-cv-00121-JO-MSB
certain agreements that are expiring,                      Document
                                          and that -- because       255-68
                                                                of that     Filed
                                                                        result    08/22/22
                                                                                that        PageID.11363
                                                                                      -- that royalty -- I Page 7 of 10the amount of the royalty you
                                                                                                           am sorry
would be receiving is going to go up. I just was curious if that is already happening next quarter.
certain agreements that are expiring, and that -- because of that result that -- that royalty -- I am sorry the amount of the royalty you
would
Answer be—receiving is going
           Bill Keitel:       to go up.what
                        I understand     I justyou
                                                was  curious
                                                   are sayingifnow,
                                                               that is already
                                                                     Wojtek.      happening
                                                                               Yes,  so we donexthavequarter.
                                                                                                       some royalty sharing agreements. One
of those agreements ends at the end of this year and one ends next year. There is a very modest improvement to our September
Answer — Bill Keitel: I understand what you are saying now, Wojtek. Yes, so we do have some royalty sharing agreements. One
revenues for one of the agreements ending at the end of this fiscal year, but it is very modest.
of those agreements ends at the end of this year and one ends next year. There is a very modest improvement to our September
revenues
Question for  one of the
           — Wojtek       agreements
                      Uzdelewicz:       ending
                                     Okay.       at the
                                             Thank      end of this fiscal year, but it is very modest.
                                                     you.
Question — Wojtek Uzdelewicz: Okay. Thank you.
Answer — Bill Keitel: Then to your question on -- on the gains. There are gains in 051 that relate to our venture investments, and
then there
Answer     are gains
         — Bill Keitel:inThen
                          the core business
                               to your      on our
                                       question on ----on
                                                       ourthe
                                                            cash portfolio
                                                              gains. Thererelating to the
                                                                            are gains     various
                                                                                       in QSI thatinvestments
                                                                                                   relate to ourthat we've
                                                                                                                 venture   made.
                                                                                                                         investments, and
then there are gains in the core business on our -- our cash portfolio relating to the various investments that we've made.
Question — Wojtek Uzdelewicz: Thank you very much.
Question — Wojtek Uzdelewicz: Thank you very much.
Answer — Operator: Our next question comes from the line of Christin Aramacost from SG Cowen.
Answer — Operator: Our next question comes from the line of Christin Aramacost from SG Cowen.

Analyst: Christin Armacost, SG Cowen - Analyst
Analyst: Christin Armacost, SG Cowen - Analyst
Question - Christin Armacost: I just wanted to follow up on Wojtek's question with respect to the royalty sharing. I think you had
Question    — Christin
q uantified the amountArmacost:       I just wanted
                         that you expected           to follow
                                              over the   courseupofon
                                                                    theWojtek's question
                                                                        next year,       with respect
                                                                                   something          to theofroyalty
                                                                                              in the range            sharing.
                                                                                                               like 330 to 360.I Ithink youto
                                                                                                                                   wanted   had
quantified
make surethe    amount
             I have that that
                         right.you
                                Andexpected
                                     I have a over  the course of the next year, something in the range of like 330 to 360. I wanted to
                                               follow-up
make sure I have that right. And I have a follow-up
Answer — Bill Keitel: Christin, that number is correct. I would just add that that was guidance that we gave last November, and we
Answer — Bill Keitel: Christin, that number is correct. I would just add that that was guidance that we gave last November, and we
will update
will update that
            that this
                 this coming November.
                      coming November.
Question -
Question   Christin Armacost:
         — Christin           Okay. But
                    Armacost: Okay. But that's
                                        that's for royalties. That's
                                               for royalties. That's for
                                                                     for the
                                                                         the fiscal
                                                                             fiscal 2006         correct?
                                                                                         period, correct?
                                                                                    2006 period,
Answer —
Answer — Bill
         Bill Keitel:
              Keitel: Fiscal
                      Fiscal 2006. The --
                             2006. The -- the impact for
                                          the impact for fiscal
                                                         fiscal 2006 of the
                                                                2006 of the end of royalty
                                                                            end of royalty sharing.
                                                                                           sharing.

Question — Christin Armacost:
Question              Armacost: Thank you.
                                       you. And when they look at your revised -- your revised handset shipments with the 203
                                                                                                                          203
being the midpoint,
          midpoint, you mentioned                                          WCDMA. II was wondering if you could give us an
                        mentioned you were seeing some pickup in India for WCDMA.
update on India in general.
                   general.
Answer
Answer —— Bill
          Bill Keitel:
               Keitel: II indicated that sequentially
                          indicated that sequentially II expect
                                                         expect more
                                                                more handsets to ship
                                                                     handsets to      for the
                                                                                 ship for the India
                                                                                              India market,
                                                                                                    market, but
                                                                                                            but II --
                                                                                                                   -- II did
                                                                                                                         did not
                                                                                                                             not identify
                                                                                                                                 identify
technology. I expect that,  though,  to be CDMA2000.
technology. I expect that, though, to be CDMA2000.
Question
Question — Christin Armacost:
         — Christin           Thank you.
                    Armacost: Thank you.
Answer — Operator: Thank you. Our next question comes from the line of Cody Acree at Legg Mason. Please proceed with your
Answer — Operator: Thank you. Our next question comes from the line of Cody Acree at Legg Mason. Please proceed with your
question.
q uestion.

Analyst: Cody Acree, Legg Mason Wood Walker - Analyst
Analyst: Cody Acree, Legg Mason Wood Walker - Analyst
Question — Cody Acree: Let me talk a little bit about what contribution you expect or at least maybe your initial indications of
Question
interest     — Cody
          that you're Acree:
                        getting Let    me talk
                                  in some        a little
                                             of the       bit about
                                                     products      youwhat   contribution
                                                                        featured            you expect
                                                                                  in the press   release,orspecifically
                                                                                                             at least maybe    your initial
                                                                                                                         the high-end       indications
                                                                                                                                         dual            of
                                                                                                                                               CPU product
interest
and       thatalso
      maybe     you're
                    thegetting    in some
                          lower-end          of the products
                                        integrated    solution. you featured in the press release, specifically the high-end dual CPU product
and maybe also the lower-end integrated solution.
Answer — Sanjay Jah: This is Sanjay. Taking the lower-end solution, the MSM6000 and MSM6025, particularly when combined
with
Answerour RF   CMOSJah:
           — Sanjay      solution
                               Thishas    had incredible
                                     is Sanjay.   Taking the  traction.  We see
                                                                  lower-end       over 50
                                                                              solution,  thehandset
                                                                                               MSM6000designs    either launched
                                                                                                           and M5M6025,             or going
                                                                                                                             particularly     on based
                                                                                                                                            when          on
                                                                                                                                                   combined
those
with oursolutions,
           RF CMOS  andsolution
                           one of the
                                    haspress    releases we
                                          had incredible          said we
                                                              traction.  Weare
                                                                             seemigrating    that low-end
                                                                                  over 50 handset           solution
                                                                                                      designs            Single Chip
                                                                                                                      tolaunched
                                                                                                                 either                solution
                                                                                                                                    or going  on and  weon
                                                                                                                                                  based    will
sample
those     that the first
        solutions,  and quarter     nextpress
                           one of the      year,releases
                                                  and in both     -- in that
                                                              we said        solution
                                                                        we are         also,that
                                                                                 migrating    we see  tremendous
                                                                                                  low-end   solution interest
                                                                                                                      to Singlefrom  our
                                                                                                                                  Chip    customers,
                                                                                                                                       solution        as will
                                                                                                                                                  and we    well
as carriers.
sample    thatAgain,
               the firstthe  purpose
                          quarter   next would
                                           year,beandtoinenable
                                                            both --our  CDMA
                                                                     in that    carriers
                                                                             solution     to compete
                                                                                       also,            in the low-end
                                                                                              we see tremendous           business
                                                                                                                      interest from and   go after the as
                                                                                                                                     our customers,     roughly
                                                                                                                                                            well
billion new   subscribers     that  we   expect   would    -- would    be available  if we  can  enable   them   to have  very
as carriers. Again, the purpose would be to enable our CDMA carriers to compete in the low-end business and go after the roughlylow-cost   handsets.
billion new subscribers that we expect would -- would be available if we can enable them to have very low-cost handsets.
In terms of the high-end chipset, the 7500 that we sampled in June, we are seeing interest from probably five customers so far, and
the interest ranges from high-end cell phones, as well as some PDA-like devices based on our solution. You may remember that
I n terms of the high-end chipset, the 7500 that we sampled in June, we are seeing interest from probably five customers so far, and
7500 has two microprocessors integrated, ARM9 for running the modem and ARM11 running at 400 Megahertz currently and then
the interesttoward
eventually     rangesnextfromyear
                                high-end    cell to
                                    migrating    phones,     as wellprocessor.
                                                    a gigahertz        as some PDA-like       devices
                                                                                  That solution        basedpretty
                                                                                                  is getting   on our  solution.
                                                                                                                     good          Youthough
                                                                                                                           traction,    may remember      thatit
                                                                                                                                               I expect that
7500
will nothas two microprocessors
         impact                          integrated,
                  our revenue significantly            ARM9
                                                   in next       for running
                                                              fiscal  year. the modem and ARM11 running at 400 Megahertz currently and then
eventually toward next year migrating to a gigahertz processor. That solution is getting pretty good traction, though I expect that it
will not impact
Question          our Acree:
             — Cody    revenueGreat,
                                   significantly   in next fiscal year.
                                           thank you.

Answer
Question— —Operator: Our next
            Cody Acree:       question
                         Great,        comes from the line of Hasan Imam at Thomas Weisel Partners. Please proceed with your
                                thank you.
question.
Answer — Operator: Our next question comes from the line of Hasan Imam at Thomas Weisel Partners. Please proceed with your
q uestion.
Analyst: Hasan Imam, Thomas Weisel Partners - Analyst

Question  — Hasan
Analyst: Hasan    Imam:
               Imam,    ThankWeisel
                     Thomas   you. I Partners
                                     have a question  regarding the WCDMA market dynamics. First a clarification, you made a
                                              - Analyst
comment that WCDMA ASPs were up. Was that related to handsets or chipsets?
Question— —
Answer
            Hasan Imam: Thank you. I have a question regarding the WCDMA market dynamics. First a clarification, you made a
          Dr. Paul Jacobs: Handsets.
comment that WCDMA ASPs were up. Was that related to handsets or chipsets?
Question — Hasan Imam: So if that's the case, then could you shed some color on the ASP dynamics, because I think one of the
Answer — Dr.orPaul
expectations          Jacobs:
                  catalysts      Handsets.
                            for the  WCDMA market to ramp in the second half of '05 is that the WCDMA handset prices will come
down. So we are we seeing kind of transient spike here in pricing?
Question — Hasan Imam: So if that's the case, then could you shed some color on the ASP dynamics, because I think one of the
expectations
Answer    — Dr.or catalysts
                 Paul       for the
                      Jacobs:    WhatWCDMA
                                       we sawmarket     to rampa in
                                                was actually          the second
                                                                   regional  effecthalf of'05
                                                                                    so that theishigher-end
                                                                                                  that the WCDMA    handset
                                                                                                             handsets        prices
                                                                                                                        coming      willthe
                                                                                                                               out in     come
                                                                                                                                            Japan
market
down. So raise
            we the
                areASP. We saw
                    we seeing      unexpected
                                kind of transientstrength  in the
                                                   spike here    in Japan  market, but we do see the handset pricing coming down, and
                                                                    pricing?
that's focused predominantly on Europe, where a number the operators want to take the lower priced handsets and actually go
after
Answerthe —voice market.
             Dr. Paul    And so
                      Jacobs:     we do
                                 What  wesee
                                           sawthat
                                                was there's
                                                      actuallygoing  to be some
                                                                 a regional  effectaggression
                                                                                    so that thethere.   We expect
                                                                                                 higher-end        to see
                                                                                                             handsets      someout
                                                                                                                        coming  aggression    there
                                                                                                                                    in the Japan
in termsraise
market    of operator pricing
               the ASP.       plans,
                         We saw       and -- and
                                   unexpected      that willincoincide
                                                strength       the Japanwithmarket,
                                                                             the reductions
                                                                                     but we doin see
                                                                                                 the handset  pricing.
                                                                                                      the handset  pricing coming down, and
that's focused predominantly on Europe, where a number the operators want to take the lower priced handsets and actually go
after the voice market. And so we do see that there's going to be some aggression there. We expect to see some aggression there                                    LP_0005912
in terms of operator pricing plans, and -- and that will coincideExhibit      72 reductions in the handset pricing.
                                                                        with the
                                                                            1161

                                                                                                                                                                   LP_0005912
Question — Hasan Imam: Okay,    Case one
                                     3:17-cv-00121-JO-MSB
                                           last thing there.Document
                                                              In terms255-68     Filed
                                                                           of your     08/22/22 for
                                                                                     guidance   PageID.11364
                                                                                                    units. It's Page
                                                                                                                come 8 ofdown
                                                                                                                          10   pretty significantly from
55 to 45 now. LG pegged it at 40 million. Do you think there is risk of another let down?
Question — Hasan Imam: Okay, one last thing there. In terms of your guidance for units. Ifs come down pretty significantly from
Answer   — BillLG
55 to 45 now.   Keitel: Well,
                   pegged      I 40
                            it at  Hasan,
                                     million.weDoalways   givethere
                                                   you think    you our     best
                                                                       is risk offorecast.
                                                                                  another let Wedown?
                                                                                                  said in the past that predicting new launches is --
has been one of our least accurate areas. I also noted that somebody today came out with a 50 million forecast. So, we do ours
from the —
Answer   ground   up. We
           Bill Keitel:   are Italking
                        Well,          withwe
                                -- Hasan,     thealways
                                                  operators,
                                                          give and   I feelbest
                                                                you our      confident
                                                                                 forecast.about
                                                                                              Weour
                                                                                                 said45.
                                                                                                       in Having
                                                                                                          the pastsaidthatthat, there is
                                                                                                                            predicting   a lot
                                                                                                                                       new     of new is --
                                                                                                                                            launches
has been and
launches  one new
               of our least in
                    ramps    accurate  areas.
                               there, and   the Ivariability
                                                  also noted   that
                                                             that   somebody
                                                                  I gave     you in today   came
                                                                                     our total     out with
                                                                                                handset      a 50 million
                                                                                                         forecast.    Thereforecast.
                                                                                                                              are moreSo,   we doWCDMA
                                                                                                                                         around    ours
from the ground
than there  there up.
                  are We  are talking with the operators, and I feel confident about our 45. Having said that, there is a lot of new
                      CDMA2000.
launches and new ramps in there, and the variability that I gave you in our total handset forecast. There are more around WCDMA
than there —there
Question          areImam:
              Hasan   CDMA2000.
                              Fair enough, thank you.
Question— —Operator:
Answer      Hasan Imam:   Fairquestion
                     Our next  enough, comes
                                       thank you.
                                              from the line of Tim Long at Banc of America. Please proceed with your question.
Answer — Operator: Our next question comes from the line of Tim Long at Banc of America. Please proceed with your question.
Analyst: Tim Long, Banc of America Securities - Analyst
Analyst: Tim Long, Banc of America Securities - Analyst
Question — Tim Long: Thank you. Sanjay, I think you talked in the past about having some -- or seeing some $200 WCDMA
phones by—the
Question      Timend  of theThank
                   Long:       year. you.
                                      Can Sanjay,
                                             you justI update
                                                       think you us talked
                                                                      on thatinand
                                                                                thedo   you
                                                                                     past     expect
                                                                                            about      that some
                                                                                                    having   QUALCOMM       will be
                                                                                                                   -- or seeing  somethe $200
                                                                                                                                          engine   in any of
                                                                                                                                                WCDMA
these
phones handsets?
         by the end of the year. Can you just update us on that and do you expect that QUALCOMM will be the engine in any of
these handsets?
Answer — Sanjay Jah: Yes, I still expect that. In fact, I think I am confident that -- that QUALCOMM will be engine in at least two of
Answer    — Sanjay
those handsets.      Jah:
                   And      Yes, II think
                         in fact,    still expect
                                            -- I expect   In fact,handset
                                                   that. those      I think Iprices
                                                                              am confident
                                                                                     will come  that -- that
                                                                                                   down      QUALCOMM
                                                                                                          even              will be engine
                                                                                                                more dramatically             in atend
                                                                                                                                      at the low     least two
                                                                                                                                                        with   of
                                                                                                                                                             low
those handsets.
feature sets, andAnd     in fact,
                    not the       I thinkselling
                              average       -- I expect
                                                   price,those
                                                           but athandset
                                                                   the low prices    will come
                                                                             end. They             down even
                                                                                           will continue        moredown
                                                                                                           to come    dramatically    at the low end with low
                                                                                                                           very dramatically.
feature sets, and not the average selling price, but at the low end. They will continue to come down very dramatically.
Question — Tim Long: Okay. Just as follow-on on your -- on your formal share goals of 50%. Any change to that given the
Question    — Tim Long:
Motorola Freescale     thatOkay.
                             was aJust      as follow-on
                                      potential             on your
                                                  opportunity   there. -- on your
                                                                          Does     formal
                                                                                 that change sharethegoals
                                                                                                      paceof of50%.  Anyof
                                                                                                               the level  change    to thatorgiven
                                                                                                                            investment              the on the
                                                                                                                                              any view
Motorolamarket?
chipset   Freescale    that was a potential opportunity there. Does that change the pace of the level of investment or any view on the
                   Thanks.
chipset market? Thanks.
Answer — Sanjay Jah: We -- we are not increasing that guidance today. I think that -- that the Motorola announcement was not a
Answer — Sanjay Jah: We -- we are not increasing that guidance today. I think that -- that the Motorola announcement was not a
surprise to us, and the reason it is relatively straightforward to see is if you have designed as many handsets as Motorola probably
surprise to us, and the reason it is relatively straightforward to see is if you have designed as many handsets as Motorola probably
has designed
has designed for    Freescale, it
                for Freescale,    it makes
                                     makes sense
                                               sense for
                                                      for them
                                                           them to to continue
                                                                       continue toto extend
                                                                                     extend that     relationship and
                                                                                               that relationship  and make
                                                                                                                        make sure
                                                                                                                               sure they   have a
                                                                                                                                     they have   a supply
                                                                                                                                                     supply
agreement in
agreement    in place.
                place.

II don't
   don't believe
         believe that
                  that that  means that
                       that means     that they are still
                                           they are still not
                                                          not looking
                                                              looking for
                                                                      for second
                                                                          second source.  I've always
                                                                                  source. I've always indicated
                                                                                                       indicated that
                                                                                                                  that our
                                                                                                                       our ability
                                                                                                                           ability to win that
                                                                                                                                   to win that
account    will be  a very difficult one.  We  continue   to work  on winning that account.  But our ability to be very successful
account will be a very difficult one. We continue to work on winning that account. But our ability to be very successful in wideband  in wideband
          market also depends on being able to offer cost competitive solution and technology leading solution and we believe we
CDMA market
have that and we have significant number of customers who are already delivering a large number of handsets based on our
solution to the marketplace.
                   marketplace. So II think that we are well on our way. way. Clearly,
                                                                              Clearly, we are working very hard to win more
                                                                                                                          more accounts so we
can get to our target of 50%.
                            50%.

Question
Question —
         — Tim
           Tim Long:
               Long: Okay.
                     Okay. Great, thanks.
                           Great, thanks.
Answer
Answer —
       — Operator:
         Operator: Our
                   Our next
                       next question comes from
                            question comes from line
                                                line of
                                                     of Mike
                                                        Mike Walkley from Piper
                                                             Walkley from Piper Jaffray.
                                                                                Jaffray. Please
                                                                                         Please proceed
                                                                                                proceed with
                                                                                                        with your
                                                                                                             your question.
                                                                                                                  question.

Analyst: Mike Walkley, Piper Jaffray - Analyst
Analyst: Mike Walkley, Piper Jaffray - Analyst
Question — Mike Walkley: Great, thanks. With your doubling your WCDMA chipset units and also starting to sound like you are
Question
doing       — Mike
      a little more Walkley:       Great,
                      rationalization     onthanks.
                                              R&D, canWithyou
                                                            your  doubling
                                                               help          your
                                                                      us think     WCDMA
                                                                               maybe            chipset
                                                                                         a little        units and
                                                                                                   more longer   term,also   starting
                                                                                                                          with          to sound
                                                                                                                                 this year  being like
                                                                                                                                                   youryou are
doing a littleyear
investment      more
                   in rationalization     on R&D,
                       the chipset business,         can metrics
                                                    what  you helpwe  usshould
                                                                         think maybe
                                                                                look fora tolittle moreget
                                                                                               maybe     longer
                                                                                                             backterm,
                                                                                                                    to 30% withoperating
                                                                                                                                 this yearmargins
                                                                                                                                            being yourin QCT?
investment year in the chipset business, what metrics we should look for to maybe get back to 30% operating margins in OCT?
Answer — Sanjay Jah: For my long-term guidance in terms of our profitability at QCT has been that we drive our business to
between —25Sanjay
Answer         and 32%Jah:  of For
                               the my
                                    -- oflong-term
                                          operatingguidance
                                                      margin. The     guidance
                                                                in terms   of ourfor  operating at
                                                                                   profitability   margin
                                                                                                     OCT hasfor this
                                                                                                                 been year
                                                                                                                         that that
                                                                                                                                wewe    provided
                                                                                                                                    drive         back into
                                                                                                                                           our business
November
between 25was  and26
                   32% to 27%.
                            of theAs      right now, margin.
                                    -- of operating            Thethat
                                                       we expect         we will for
                                                                      guidance    hit operating
                                                                                      somewhere       between
                                                                                                   margin        25 and
                                                                                                            for this  year26% that operating
                                                                                                                                   we providedprofit
                                                                                                                                                  backmargin
                                                                                                                                                         in for
the whole year.
November          So to
             was 26     for27%.
                             next As
                                  year,of again,  I think
                                          right now,   we we  will fall
                                                          expect    thatsomewhere      in the 25 to between
                                                                         we will hit somewhere        32 range.25  It will
                                                                                                                      and depend      what ourprofit
                                                                                                                            26% operating       margin    is, for
                                                                                                                                                       margin
again, will year.
the whole    depend
                  Soafor  lotnext
                              on the   mix
                                   year,    of products
                                          again,  I think that wefall
                                                          we will   ship. If wideband
                                                                        somewhere         CDMA
                                                                                       in the  25 toproducts
                                                                                                      32 range.were    particularly
                                                                                                                   It will            successful,
                                                                                                                            depend what             I suspect
                                                                                                                                            our margin    is, that
our operating
again,           margin
       will depend    a lotwould   be mix
                              on the    higher.
                                            of products that we ship. If wideband CDMA products were particularly successful, I suspect that
our operating margin would be higher.
EV-DO has certainly been extremely successful and Sprint and Verizon and VIVO driving EV-DO, we are hopeful that we will have
good
EV-DO shipment    of EV-DO
        has certainly      beenchips    in thesuccessful
                                 extremely      next fiscal and
                                                             year.Sprint
                                                                   So onandtop Verizon
                                                                               of that, Iand
                                                                                           think   our ability
                                                                                                VIVO   drivingtoEV-DO,
                                                                                                                  leverage   weR&D     across both
                                                                                                                                 are hopeful         EV-DO
                                                                                                                                               that we         and
                                                                                                                                                         will have
wideband CDMA is another very significant factor in thinking about our operating margin.
good shipment of EV-DO chips in the next fiscal year. So on top of that, I think our ability to leverage R&D across both EV-DO and
wideband CDMA
Question    — Mike is    another Thank
                     Walkley:       very significant
                                            you.       factor in thinking about our operating margin.

Question— —Operator:
Answer      Mike Walkley: Thank
                     Our next    you. comes from the line of Tim Luke at Lehman Brothers. Please proceed with your question.
                              question

Answer — Operator: Our next question comes from the line of Tim Luke at Lehman Brothers. Please proceed with your question.
Analyst: Tim Luke, Lehman Brothers - Analyst

 Question   — Tim
 Analyst: Tim     Luke:
               Luke,      Thanks.
                     Lehman          Sanjay,
                                 Brothers       I was wondering with respect to last quarter you said your visibility was building for the
                                             - Analyst
September period. And indeed it seems that you are reiterating a fairly healthy uptick in your September quarter units. I was
wondering
 Question —howTimyou perceive
                  Luke:   Thanks. your book-to-bill
                                     Sanjay,    I was visibility
                                                      wondering  as with
                                                                     you start   looking
                                                                           respect       at quarter
                                                                                    to last the December
                                                                                                    you saidperiod.
                                                                                                              your visibility was building for the
September period. And indeed it seems that you are reiterating a fairly healthy uptick in your September quarter units. I was
Iwondering
   was also wondering   for Bill or
             how you perceive       Paul,
                                  your     it looked visibility
                                        book-to-bill  like the --asthe
                                                                     you  ASP in looking
                                                                           start  March went
                                                                                         at theup fairly materially
                                                                                                December    period.versus what one had expected.
And I was wondering whether you might have been able to help us with how we should sort of frame WCDMA in the March period
and
 I wasJune
       alsoperiod as -- for
            wondering   as aBill
                              range   in that
                                 or Paul,       Japanlike
                                           it looked    looked
                                                           the --like
                                                                    theit ASP
                                                                          was strong.
                                                                               in March went up fairly materially versus what one had expected.
And more
And  I was broadly,
           wondering   whether
                    Paul,  I was you  might have
                                 wondering    if youbeen
                                                     couldable
                                                            givetoushelp  us with
                                                                       a sense  ofhow
                                                                                  how we
                                                                                      youshould sort of frame
                                                                                          feel Japanese       WCDMA
                                                                                                          number      in themay
                                                                                                                 portability March period
                                                                                                                                impact
and June
your      period
      growth thereas -- as
                   later inathe
                              range
                                yearinorthat
                                         whenJapan  looked
                                                it might    likeanit impact.
                                                         have         was strong.
                                                                             Thanks.
And more— broadly,
Answer               Paul,Tim,
            Sanjay Jah:      I was  wondering
                                  taking       if you could
                                         the question       give
                                                       on our     us a sense
                                                              visibility        of how you
                                                                         into December     feel Japanese
                                                                                        quarter. We so farnumber portability
                                                                                                           have not providedmay
                                                                                                                             anyimpact
                                                                                                                                 guidance
your  growth  there later in  the  year or when  it might have an  impact.   Thanks.
on the December quarter. All I can say is that the September quarter, we have certainly seen a marked improvement in our book-
to-bill. We don't break that number out for you.
Answer — Sanjay Jah: Tim, taking the question on our visibility into December quarter. We so far have not provided any guidance
on the December quarter. All I can say is that the September quarter, we have certainly seen a marked improvement in our book-
to-bill. We don't break that number out for you.                     Exhibit 72                                                                                      LP_0005913

                                                                             1162

                                                                                                                                                                     LP_0005913
For the December quarter, I think   Case 3:17-cv-00121-JO-MSB
                                         I -- I'l l give you two Document
                                                                 or three 255-68  Filed 08/22/22
                                                                           qualitative           PageID.11365
                                                                                        factors which          Page 9on
                                                                                                         may weigh    of 10
                                                                                                                          our shipment. One is Sprint
and Verizon rolling out EV-DO and how successful and how aggressive they are in doing so. Secondly, how successful and
For  the December
aggressive    European quarter, I think
                           carriers  areI in
                                           -- wideband
                                              I'll give you        three qualitative
                                                            two ordeployment
                                                           CDMA                 in thefactors
                                                                                         Decemberwhich  may weigh
                                                                                                      quarter.       on our shipment.
                                                                                                               As I indicated,         Onesecond
                                                                                                                                we see the   is Sprint
                                                                                                                                                    half
and   Verizon  rolling out  EV-DO    and   how     successful and  how  aggressive     they  are  in doing so. Secondly,    how
being more positive for wideband shipment. So I think those two factors will be important in considering how our December quartersuccessful and
aggressive
plays out. European carriers are in wideband CDMA deployment in the December quarter. As I indicated, we see the second half
being more positive for wideband shipment. So I think those two factors will be important in considering how our December quarter
plays
Answer out.— Bill Keitel: Tim, this is Bill. On your ASP question. Yes, we had a very nice result with last quarter ASP going to 231. I
will note, Tim, that if the Japan WCDMA shipments hadn't been as strong as they were, we would have been within a few dollars of
Answer — Bill Keitel: Tim, this is Bill. On your ASP question. Yes, we had a very nice result with last quarter ASP going to 231. I
our--
will    of our
     note, Tim,original  guidance
                 that if the Japan in  the 215shipments
                                     WCDMA           range.    hadn't been as strong as they were, we would have been within a few dollars of
our -- of our original guidance in the 215 range.
So --and then the --the driver behind the --the 215 forecast for the September quarter, again, that -- that relates to June
shipments.
So -- and thenI think
                  the as  youdriver
                      -- the   mentioned.
                                      behind What
                                             the -- I the
                                                       see215
                                                           happening
                                                                forecastthere
                                                                          for theis September
                                                                                    North America     sequentially
                                                                                                  quarter,            up.--China
                                                                                                            again, that           sequentially
                                                                                                                            that relates to Juneup. India
sequentiallyI think
shipments.      up. But
                      as Iyou
                           seementioned.
                               Japan sequentially
                                            What I see  down   and South
                                                           happening        Korea
                                                                         there       sequentially
                                                                                is North  Americadown.
                                                                                                     sequentially up. China sequentially up. India
sequentially up. But I see Japan sequentially down and South Korea sequentially down.
Question — Tim Luke: Thanks.
Question — Tim Luke: Thanks.
Answer — Dr. Paul Jacobs: In terms of the number portability, I guess we have seen in any market, as number portability has
Answer    — Dr. we
come online,     Paul  Jacobs:
                     have          In terms ofchurn
                            seen increased      the number     portability,
                                                       and therefore        I guesshandset
                                                                        increased      we havesales.
                                                                                                  seen In
                                                                                                        in Japan,
                                                                                                           any market,     as number
                                                                                                                    in particular, givenportability
                                                                                                                                          the high has
come   online,
wholesale       we have
            prices         seen
                     for the     increased
                              handsets,   thatchurn
                                               wouldand be therefore
                                                            definitely increased
                                                                       a positive for   us. sales. In Japan, in particular, given the high
                                                                                     handset
wholesale prices for the handsets, that would be definitely a positive for us.
Question — Tim Luke: Just, Paul or Steve maybe, on the China deals that you just signed, are they sort of all domestic shipments
Question
as well as—export
              Tim Luke:      Just, Paul
                     shipments?      And or Steve
                                         then      maybe,
                                               if you         oncomment
                                                        want to   the Chinaon  deals  that you
                                                                                  the flurry     just signed,
                                                                                             of lawsuits        areand
                                                                                                           of late   theywhether
                                                                                                                           sort of all
                                                                                                                                   wedomestic    shipments
                                                                                                                                       should expect   more.
as well as export shipments? And then if you want to comment on the flurry of lawsuits of late and whether we should expect more.
Answer — Sanjay Jah: Yes, the license agreement that I referred to earlier are all worldwide agreements. So wherever they
Answer — Sanjay Jah: Yes, the license agreement that I referred to earlier are all worldwide agreements. So wherever they
manufacture and sell their license to do so. And in terms of lawsuits, I -- I guess, my way of looking at it is when you -- when you
manufacture and sell their license to do so. And in terms of lawsuits, I -- I guess, my way of looking at it is when you -- when you
have a successful business and you are in a very growing and exciting marketplace, I think those kind of things are sometimes
have a successful business and you are in a very growing and exciting marketplace, I think those kind of things are sometimes
unfortunately aa matter
unfortunately    matterof
                        ofdoing
                          doing business.
                                 business.So
                                           So we'll
                                              we'll deal
                                                    deal with
                                                         with them
                                                               them from
                                                                     from time
                                                                           time to
                                                                                 to time.
                                                                                     time.

 Answer ——Dr.
Answer     Dr.Paul
               Paul Jacobs:
                     Jacobs:One
                            One outcome
                                outcome of
                                        ofthe
                                           the lawsuit
                                                lawsuit that's
                                                         that's probably
                                                                probably surprised
                                                                         surprised people
                                                                                   people is
                                                                                           is the
                                                                                               the strength
                                                                                                   strength of
                                                                                                            ofour
                                                                                                               our patent
                                                                                                                   patentposition
                                                                                                                          position in
                                                                                                                                    in
 technologies outside
technologies  outside of
                      ofCDMA.
                         CDMA.

Answer —— Operator:
Answer    Operator:Next
                    Nextquestion
                        question comes
                                 comesfrom
                                       from the
                                             the line
                                                  line of
                                                       ofApjit
                                                          ApjitWalia
                                                               Walia at
                                                                     atRBC
                                                                        RBC Capital
                                                                            Capital Markets.
                                                                                    Markets.Please
                                                                                             Please proceed
                                                                                                    proceed with
                                                                                                            with your
                                                                                                                  yourquestion.
                                                                                                                      question.


Analyst:
Analyst:Apjit
         ApjitWalia,
              Walia,RBC
                     RBCCapital
                        Capital Markets
                                Markets--Analyst
                                         Analyst
Question
 Question —— ApjitApjitWalia:
                        Walia:Just
                               Justquickly
                                    quickly on
                                            on India.
                                                India.II know
                                                          know you
                                                                you just
                                                                     justcommented
                                                                          commented you're
                                                                                      you're going
                                                                                             going to
                                                                                                    to see
                                                                                                       see some
                                                                                                            some sort
                                                                                                                    sortofofgrowth.
                                                                                                                             growth.Could
                                                                                                                                    Could you
                                                                                                                                           you give
                                                                                                                                               give
aa little bit of color what kind of growth  you  could   see and  what   vendors. And  also can you  give  a little bit of comment
    little bit of color what kind of growth you could see and what vendors. And also can you give a little bit of comment on the    on the
litigation
 litigation with
              with Broadcom.
                    Broadcom.
Answer
 Answer ——Dr. Dr.Paul
                  Paul Jacobs:
                       Jacobs:So  So in
                                      in India,
                                          India,some
                                                 some of ofthe
                                                            the interesting
                                                                 interesting things
                                                                              things we
                                                                                      we are
                                                                                          are seeing,
                                                                                              seeing,DSNL
                                                                                                       DSNL[ph]
                                                                                                             [ph]isis extending,
                                                                                                                      extending,CDMA
                                                                                                                                  CDMAforforrural
                                                                                                                                             rural
rollouts, that should help out. Looks like Reliance, the management transition there -- it looks like it's settling down. And Tata,
 rollouts, that should help out. Looks like Reliance, the management transition there -- it looks like it's settling down. And Tata,
interesting potential there as well, done a little management changeover, they have brought in some other people. In all, I think we
 interesting potential there as well, done a little management changeover, they have brought in some other people. In all, I think we
are well-positioned, but also there are some handsets coming into the market at very low prices. I think we have done a good job in
 are well-positioned,
terms                   but also price
        of driving the handset    thereatarethesome
                                                very handsets
                                                      low end, andcoming   into
                                                                       those     the market
                                                                              handsets   are at very lowcompetitive,
                                                                                              extremely   prices. I think
                                                                                                                        sowe  have
                                                                                                                           that    done
                                                                                                                                should   a good
                                                                                                                                       help       job in
                                                                                                                                            as well.
 terms of driving the handset price at the very low end, and those handsets are extremely competitive, so that should help as well.
Answer — Steve Altman: In terms of the Broadcom litigation. I am not sure what I can add that we already haven't publicly
 Answer —inSteve
disclosed            Altman:
                our press      In terms
                          releases.  It's of  the Broadcom
                                           a patent            litigation.
                                                     infringement    case I that
                                                                             am they
                                                                                  not sure
                                                                                       havewhat  I can against
                                                                                             asserted  add thatour
                                                                                                                we products.
                                                                                                                     already haven't  publicly
                                                                                                                                They have  brought a
antitrust case more recently. We filed a patent case back against them, and we are at -- all at a very early stage, and it willbrought
 disclosed   in our press  releases.  It's a  patent  infringement    case   that they  have asserted   against our   products. They  have    have toa
 antitrust
play  out. case more recently. We filed a patent case back against them, and we are at -- all at a very early stage, and it will have to
 play out.
Question — Apjit Walia: Great, thank you.
 Question — Apjit Walia: Great, thank you.
Answer — Operator: Our next question comes from the line of Ehud Gelblum at J.P. Morgan. Please proceed with your question.
 Answer — Operator: Our next question comes from the line of Ehud Gelblum at J.P. Morgan. Please proceed with your question.
Analyst: Ehud Gelblum, J.P. Morgan - Analyst
 Analyst: Ehud Gelblum, J.P. Morgan - Analyst
Question — Ehud Gelblum: Thank you very much. A couple quick questions. First of all, Steve, in some of the other comments
that either yourself or Bill Keitel said, I think you were talking about how you found that your patent portfolio extends to a lot more
 Question — Ehud Gelblum: Thank you very much. A couple quick questions. First of all, Steve, in some of the other comments
than just CDMA-types of technologies, and you mentioned in many others including GSM and GPRS. Off of a lark, does this mean
 that either yourself or Bill Keitel said, I think you were talking about how you found that your patent portfolio extends to a lot more
that all of a sudden you're going to start trying to license some GSM vendors. That's just kind of an aside question, but curious to
 thanifjust
see          CDMA-types
        that's  kind of the of    technologies,
                              strategy    you have and
                                                     hadyou  mentioned
                                                          in the back ofin  many
                                                                         your     others
                                                                               mind       including
                                                                                     the last         GSMbut
                                                                                               12 years,     and
                                                                                                               now,GPRS.   Offthat
                                                                                                                      Steve,    of ayou
                                                                                                                                     lark,
                                                                                                                                        aredoes  this mean
                                                                                                                                            President,
 thatcan
you   all of a sudden
           actually        you're
                       attack  that.going to start trying to license some GSM vendors. That's just kind of an aside question, but curious to
 see if that's kind of the strategy you have had in the back of your mind the last 12 years, but now, Steve, that you are President,
 you can
One   of theactually   attack that.
              -- the issues     that Broadcom does bring up in the antitrust suit, which is something I had not been familiar with, was in
the sense tying whether a handset vendor purchases chips from you with the royalty that you end up charging them, which is
 One of theI--didn't
something          the issues
                        -- didn'tthat  Broadcom
                                   think  you did, does   bring up don't
                                                    but obviously  in theknow.
                                                                          antitrust
                                                                                Aresuit,
                                                                                    therewhich   allsomething
                                                                                           -- in is              I hadroyalties
                                                                                                     of your -- your    not beenandfamiliar with, was in
                                                                                                                                      your agreements
 the sense
that you sign tying
                  withwhether
                        everyone,a handset
                                      are theyvendor   purchases
                                                all pretty         chipscompletely
                                                           much done     from you with   the royalty
                                                                                    at hand's   lengththat
                                                                                                        fromyou  endirrespective
                                                                                                               QCT     up chargingofthem,   which
                                                                                                                                      whether   they is
actually
 something purchase
               I didn'tchips    from
                         -- didn't     you?
                                    think  you did, but obviously don't know. Are there -- in all of your -- your royalties and your agreements
 that you sign with everyone, are they all pretty much done completely at hand's length from OCT irrespective of whether they
Answer
 actually —   Steve Altman:
           purchase      chips fromI amyou?
                                         not going to get into details of our license agreements, but I will say absolutely they are done
without QCT's involvement. It's a QTL business unit that is responsible for that. And, the -- the types of agreements we have
entered
 Answerinto      I thinkAltman:
            — Steve       we -- we've
                                    I am been  very reasonable
                                          not going               and fair
                                                     to get into details of and I am very
                                                                            our license    comfortablebut
                                                                                         agreements,       that they're
                                                                                                             I will      in compliance
                                                                                                                    say absolutely   theywith  all legal
                                                                                                                                           are done
requirements.
 without QCT's involvement. It's a QTL business unit that is responsible for that. And, the -- the types of agreements we have
 entered into I think we -- we've been very reasonable and fair and I am very comfortable that they're in compliance with all legal
In terms of were we going to announce that we have patents that apply to GPRS and EDGE, in terms of our plans for that, in this
 requirements.
case we have used it as sort of a defensive mechanism. Broadcom started this and so we fought back.
 I n terms
In    termsof
           ofwhere
              were wewegoing     to announce
                           go forward,          thatvalue
                                        these are    we have   patents
                                                          -- this       that apply
                                                                  is a valuable    to GPRS
                                                                                portfolio. Weand
                                                                                               are EDGE,   in terms
                                                                                                   committed          of our plans
                                                                                                                to licensing            for that,on
                                                                                                                               that portfolio     in this
 case we have
reasonable        usedfree
              terms,     it as sortunfair
                             from   of a defensive   mechanism.
                                          discrimination            Broadcom with
                                                          and in compliance    started
                                                                                    ourthis and so commitments.
                                                                                        standards   we fought back.   And so it is too early to say
at this point how that will all come out, but we do have a very valuable portfolio there we believe.
 I n terms of where we go forward, these are value -- this is a valuable portfolio. We are committed to licensing that portfolio on
 reasonable
Answer         terms,
           — Dr. Paulfree    from In
                        Jacobs:    unfair discrimination
                                      terms               and inover
                                             of the time frame     compliance
                                                                       which hewith
                                                                                 hasour
                                                                                     beenstandards   commitments.
                                                                                            itching to do this, let meAnd
                                                                                                                        justsosay
                                                                                                                                it isthat
                                                                                                                                       tooaearly
                                                                                                                                             lot oftothese
                                                                                                                                                       say
 at this point how that will all come out, but we do have a very valuable portfolio there we believe.
                                                           Exhibit 72                                                                                          LP_0005914
Answer — Dr. Paul Jacobs: In terms of the time frame over which
                                                            1163he has been itching to do this, let me just say that a lot of these

                                                                                                                                                               LP_0005914
-- this ITR was generated as the       CaseGSM3:17-cv-00121-JO-MSB
                                                    systems addedDocument      255-68 Filed
                                                                       data capabilities    to08/22/22   PageID.11366
                                                                                                their systems          Page had
                                                                                                                  and they  10 of to adopt techniques that we
                                                                                  10
originally developed for CDMA,so this is more recent development, I guess I would put it.
-- this ITR was generated as the GSM systems added data capabilities to their systems and they had to adopt techniques that we
originally
Questiondeveloped          for CDMA,
              — Ehud Gelblum:            so this
                                     Okay.          is more
                                               If I can  add recent   development,
                                                              one other                I guess
                                                                          thing in terms    of theI would    put it. numbers we have for the year. It looks
                                                                                                     new handset
like by your own guidance, the March shipments for handsets exceeded what you had been looking for, the 43 million. You were
Question
looking for—40  Ehud
                  to 42Gelblum:      Okay.
                          million. And         If I can
                                          it looks   likeadd
                                                          we one   other
                                                              will see    thing
                                                                        nice    in terms
                                                                             strong         of the new
                                                                                      shipments      againhandset
                                                                                                             in Junenumbers
                                                                                                                      that kind we    have for
                                                                                                                                  of inform    theroyalties
                                                                                                                                             your  year. It looks
                                                                                                                                                             in
like by your own
September,           guidance,
                but yet            thecalendar
                         for the full   March shipments
                                                     year you for   handsets
                                                                brought        exceeded
                                                                          the midpoint       what
                                                                                          down    foryou
                                                                                                      fullhad   been looking
                                                                                                            wideband   CDMA for,     the 43 million.
                                                                                                                                shipments    down by You
                                                                                                                                                       10were
                                                                                                                                                           million.
looking   for 40  to 42  million.  And    it looks   like we  will see  nice strong   shipments      again   in June  that kind   of
So, putting those two things together, stronger first half of the year, lower number for the full year. How has your thought process inform your  royalties  in
September,
changed         but yetoffor
            in terms      thethe  full half
                               back    calendar
                                             of theyear
                                                      year?you  brought
                                                             Should   wetheseemidpoint      morefor
                                                                               a little bitdown        full wideband
                                                                                                    slowing            CDMA
                                                                                                               in the back  halfshipments    down
                                                                                                                                  of the year?      by 10
                                                                                                                                                That's kindmillion.
                                                                                                                                                              of
So, putting those two things together, stronger first half of the year, lower number for the full year. How has your thought process
what the extrapolation is from those two pieces, I just want to make sure I am understanding correctly and why.
changed in terms of the back half of the year? Should we see a little bit more slowing in the back half of the year? That's kind of
what
Answer the —extrapolation    is fromitthose
              Bill Keitel: Ehud,        is Bill two   pieces,
                                                 Keitel.       I just
                                                          There's  twowant  to make
                                                                        primary        surebringing
                                                                                 factors      I am understanding       correctly and
                                                                                                        the handset guidance       down.why.
                                                                                                                                          One is WCDMA in
Western —Europe
Answer              and two
            Bill Keitel:     is CDMA2000
                          Ehud,                 in China.
                                 it is Bill Keitel.       In two
                                                    There's   the primary
                                                                   case of factors
                                                                            China, we    have the
                                                                                     bringing  seen   changeguidance
                                                                                                    handset    in management,
                                                                                                                         down. One rumors    of -- of in
                                                                                                                                        is WCDMA
maybe some
Western        further
          Europe    and organizational
                         two is CDMA2000  changes,   as well
                                               in China.       as case
                                                          In the   you got  the question
                                                                         of China,  we haveon 3G
                                                                                               seen licenses,
                                                                                                      change not  only for us butrumors
                                                                                                               in management,        for operators
                                                                                                                                             of -- of there.
And all some
maybe   those further
               things combined      we think
                        organizational         have as
                                          changes,   slowed
                                                        well asdownyouthe
                                                                        gotChina   market,on
                                                                            the question    and3Gwe   are recognizing
                                                                                                   licenses,  not only that  in but
                                                                                                                        for us  ourforguidance.
                                                                                                                                          operators there.
And all those things combined we think have slowed down the China market, and we are recognizing that in our guidance.
Having said that, we expect the China market to be a bit better in the second half of calendar '05 relative to the first half, and the
market as
Having      a that,
         said whole.weCDMA
                        expectand
                                theWCDMA         combined,
                                      China market           a bitexpect
                                                      to be we      betterto
                                                                           in be
                                                                              thestronger
                                                                                  second in   theofsecond
                                                                                           half     calendarhalf
                                                                                                              '05than the first
                                                                                                                  relative       half,
                                                                                                                            to the     and
                                                                                                                                    first   -- and
                                                                                                                                          half, and the
notably  WCDMA,      although  we    brought  it down,  we  are  still looking for a healthy  rate   of growth  here over
market as a whole. CDMA and WCDMA combined, we expect to be stronger in the second half than the first half, and -- and    the  next   couple   of
q uarters.
notably  WCDMA, although we brought it down, we are still looking for a healthy rate of growth here over the next couple of
quarters.
Question — Ehud Gelblum: Great, thank you.
Question — Ehud Gelblum: Great, thank you.
Answer — Operator: Our next question comes from the line of John Bucher at Harris Nesbitt. Please proceed with your question.
Answer — Operator: Our next question comes from the line of John Bucher at Harris Nesbitt. Please proceed with your question.

Analyst: John Bucher, Harris Nesbitt Gerard - Analyst
Analyst: John Bucher, Harris Nesbitt Gerard - Analyst
Question — John Bucher: You don't provide WCDMA unit numbers, but I am wondering if you can just talk about the progression
Question    — John
you have seen        Bucher:
                  in units sinceYouthedon't  provide
                                       -- since the endWCDMA    unit numbers,
                                                          of calendar  2004. If but
                                                                                 you Ican
                                                                                       am just
                                                                                           wondering   if you
                                                                                               talk about  thecan  just talk about
                                                                                                                progression        the progression
                                                                                                                              you have seen on a
you  have  seen   in units since   the -- since the  end  of calendar  2004. If you   can just talk about  the  progression
q uarter-by-quarter basis. And to the extent that you are willing to do so, how you see it just in terms of order of magnitudeyou have seenin on
                                                                                                                                              thea
quarter-by-quarter
second   half of this basis. And
                      calendar      to the
                                  year.     extent
                                        Thank      that you are willing to do so, how you see it just in terms of order of magnitude in the
                                                you.
second half of this calendar year. Thank you.
Answer — Sanjay Jah: John, this is Sanjay. I take it that your question is related to wideband CDMA chipsets.
Answer — Sanjay Jah: John, this is Sanjay. I take it that your question is related to wideband CDMA chipsets.
Question — John Bucher: Actually it is not, it's WCDMA handsets.
Question — John Bucher: Actually it is not, it's WCDMA handsets.
Answer — Bill Keitel: Okay, John. This is Bill Keitel, we've seen a fairly steady increase in units here as -- as we have gone along
Answer
here every— Bill Keitel:
             quarter      Okay,
                      of the      John.WCDMA
                              -- since    This is Bill Keitel,
                                                   really      we've
                                                          started    seen a fairly
                                                                  in volume.       steady
                                                                              I expect      increase
                                                                                        a further     in units
                                                                                                   increase  in here as --quarter,
                                                                                                                the June    as we have
                                                                                                                                   whichgone  along
                                                                                                                                          would  be
here every quarter of the -- since WCDMA really started in volume. I expect a further increase in the June quarter, which would be
our September quarter revenues, and -- and we expect the two quarters after that to be sequential increases as well.
our September quarter revenues, and -- and we expect the two quarters after that to be sequential increases as well.
Answer — Dr. Paul Jacobs: And we are seeing seasonality also, and we saw some reasonable bump-ups in the Christmas selling
Answer — Dr. Paul Jacobs: And we are seeing seasonality also, and we saw some reasonable bump-ups in the Christmas selling
season as you
season as you might
              might expect
                    expect because
                           because that's when the
                                   that's when     operators push
                                               the operators push hard.
                                                                  hard. And
                                                                        And so we expect
                                                                            so we expect to
                                                                                         to see
                                                                                            see that happening again
                                                                                                that happening again this
                                                                                                                     this
year.
year.
Question —
Question — John
           John Bucher:
                Bucher: Not
                        Not to slight Sanjay,
                            to slight Sanjay, but
                                              but will
                                                  will that
                                                       that match
                                                            match what
                                                                  what you
                                                                       you are
                                                                           are seeing in terms
                                                                               seeing in       of chipset
                                                                                         terms of chipset unit
                                                                                                          unit shipments also
                                                                                                               shipments also
then?
then?
Answer —
Answer    — Sanjay
            Sanjay Jah:
                     Jah: Yes,
                            Yes, John.
                                  John. The
                                        The ---- the
                                                 the first
                                                     first calendar quarter to
                                                           calendar quarter  to second calendar quarter
                                                                                second calendar  quarter we
                                                                                                         we saw a doubling,
                                                                                                            saw a doubling, and
                                                                                                                            and then
                                                                                                                                then
actually from
actually from the
               the first
                   first fiscal quarter to
                         fiscal quarter to first calendar quarter,
                                           first calendar   quarter, we
                                                                     we also
                                                                         also saw  doubling of
                                                                              saw doubling  of our
                                                                                               our volume
                                                                                                   volume shipment. And we
                                                                                                          shipment. And  we actually
                                                                                                                            actually
anticipate sequential
anticipate  sequential increases
                         increases in
                                    in our  volume shipment
                                       our volume               going forward.
                                                      shipment going   forward.

              Keitel: But II would add that Sanjay's rate of growth is at a higher rate right now for the next couple of quarters than
Answer — Bill Keitel:
what we see the WCDMA industry as a whole.
                                        whole.

                Bucher: Thank you very much.
Question — John Bucher:                much.

Answer — Operator:
         Operator: Thank you.
                         you. That was our final question.
                                                 question. Dr. Jacobs,
                                                               Jacobs, II will turn the conference back over to you.
                                                                                                                you.

Answer
Answer — — Dr.
           Dr. Paul
               Paul Jacobs:
                    Jacobs: II just
                                just wanted
                                      wanted to to end  today's call
                                                   end today's   call by saying that
                                                                      by saying  that we
                                                                                       we really   feel that
                                                                                           really feel  that the
                                                                                                             the opportunities  for QUALCOMM
                                                                                                                 opportunities for  QUALCOMM
are even greater now than they ever have been, and I am very grateful for the chance to work with an incredible group of
are even greater now   than  they  ever  have   been,   and I  am very  grateful for the  chance     to work  with an incredible group    of
employees and
employees   and with
                with all
                     all of
                         of our
                            our partners.
                                partners. II feel
                                              feel like the Company
                                                   like the Company has has gotten
                                                                            gotten toto where
                                                                                        where itit is
                                                                                                    is by
                                                                                                       by innovation
                                                                                                          innovation and
                                                                                                                      and by
                                                                                                                          by trying to figure
                                                                                                                             trying to  figure out
                                                                                                                                                out
when  something  is
when something is going on what is it that everybody else is missing, and we find a better way to do those. We execute very well
                    going  on  what  is it that everybody    else is missing, and   we  find  a better   way  to do those. We   execute    very  well
on those opportunities,  and  that's allowed    us to make    the major  impact  that  we  have   in  wireless telecommunication
on those opportunities, and that's allowed us to make the major impact that we have in wireless telecommunication throughout the     throughout    the
world.
world.
So I'm
So I'm very
       very excited
            excited and
                    and very
                        very optimistic that we
                             optimistic that we will
                                                will continue to help
                                                     continue to help lead the industry
                                                                      lead the industry and
                                                                                        and do this working
                                                                                            do this working very
                                                                                                             very closely
                                                                                                                  closely with
                                                                                                                           with our
                                                                                                                                our
partners and our  customers, and  most  importantly, with our employees.   So thanks, everybody,  for attending the call
partners and our customers, and most importantly, with our employees. So thanks, everybody, for attending the call today.today.

Answer — Operator: Ladies and gentlemen, that does conclude the conference call for today. We thank you very much for your
Answer — Operator: Ladies and gentlemen, that does conclude the conference call for today. We thank you very much for your
participation and ask that you please disconnect your lines. Thank you and have a good day.
participation and ask that you please disconnect your lines. Thank you and have a good day.


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                                                                            Exhibit 72
                                                                             1164
                                                                                                                                                                      LP_0005915
                                                                                                                                                                      LP_0005915
